                                                                             Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16 Desc: Main
                                                                     B1 (Official Form 1) (04/13)            Document Page 1 of 52
                                                                                            United States Bankruptcy Court
                                                                                                 District of Puerto Rico                       Voluntary Petition
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                              Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      MARTINEZ FUENTES, RAFAEL                                                                CORTES TORRES, LUZ ESTRELLA
                                                                      All Other Names used by the Debtor in the last 8 years                                  All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                             (include married, maiden, and trade names):
                                                                      RAFAEL MARTINEZ PEREZ                                                                   LUZ E CORTES TORRES
                                                                                                                                                              dba COLMADO BAR LA ESTRELLA


                                                                      Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN
                                                                      (if more than one, state all):     0890                                                 (if more than one, state all):     8918
                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                        Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      71 RAFAEL CORDERO STREET                                                                71 RAFAEL CORDERO STREET
                                                                      CAGUAS, PR                                                                              CAGUAS, PR
                                                                                                                            ZIPCODE 00725                                                                            ZIPCODE 00725
                                                                      County of Residence or of the Principal Place of Business:                              County of Residence or of the Principal Place of Business:
                                                                      Caguas                                                                                  Caguas
                                                                      Mailing Address of Debtor (if different from street address)                            Mailing Address of Joint Debtor (if different from street address):
                                                                      71 CALLE RAFAEL CORDERO                                                                 71 CALLE RAFAEL CORDERO
                                                                      CAGUAS, PR                                                                              CAGUAS, PR
                                                                                                                            ZIPCODE 00725                                                                            ZIPCODE 00725
                                                                      Location of Principal Assets of Business Debtor (if different from street address above):

                                                                                                                                                                                                                             ZIPCODE
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                         Type of Debtor                                      Nature of Business                                Chapter of Bankruptcy Code Under Which
                                                                                     (Form of Organization)                                   (Check one box.)                                    the Petition is Filed (Check one box.)
                                                                                        (Check one box.)                           Health Care Business                                    Chapter 7                    Chapter 15 Petition for
                                                                     üIndividual (includes Joint Debtors)
                                                                      See Exhibit D on page 2 of this form.
                                                                                                                                   Single Asset Real Estate as defined in 11
                                                                                                                                   U.S.C. § 101(51B)
                                                                                                                                                                                           Chapter 9
                                                                                                                                                                                           Chapter 11
                                                                                                                                                                                                                        Recognition of a Foreign
                                                                                                                                                                                                                        Main Proceeding
                                                                        Corporation (includes LLC and LLP)                         Railroad                                                Chapter 12                   Chapter 15 Petition for
                                                                        Partnership
                                                                        Other (If debtor is not one of the above entities,
                                                                                                                                   Stockbroker
                                                                                                                                   Commodity Broker
                                                                                                                                                                                       ü   Chapter 13                   Recognition of a Foreign
                                                                                                                                                                                                                        Nonmain Proceeding
                                                                        check this box and state type of entity below.)            Clearing Bank                                                              Nature of Debts
                                                                                                                                   Other                                                                      (Check one box.)
                                                                                      Chapter 15 Debtor
                                                                      Country of debtor’s center of main interests:                           Tax-Exempt Entity
                                                                                                                                                                                       ü    Debts are primarily consumer
                                                                                                                                                                                           debts, defined in 11 U.S.C.
                                                                                                                                                                                                                               Debts are primarily
                                                                                                                                                                                                                               business debts.
                                                                      __________________________________________                           (Check box, if applicable.)                     § 101(8) as “incurred by an
                                                                      Each country in which a foreign proceeding by,               Debtor is a tax-exempt organization under               individual primarily for a
                                                                      regarding, or against debtor is pending:                     Title 26 of the United States Code (the                 personal, family, or house-
                                                                      __________________________________________                   Internal Revenue Code).                                 hold purpose.”
                                                                                          Filing Fee (Check one box)                                                             Chapter 11 Debtors
                                                                                                                                             Check one box:
                                                                     ü  Full Filing Fee attached
                                                                                                                                               Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                        Filing Fee to be paid in installments (Applicable to individuals
                                                                        only). Must attach signed application for the court’s                Check if:
                                                                        consideration certifying that the debtor is unable to pay fee            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less
                                                                        except in installments. Rule 1006(b). See Official Form 3A.              than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
                                                                                                                                               ----------------------------------------------------------------
                                                                        Filing Fee waiver requested (Applicable to chapter 7 individuals     Check all applicable boxes:
                                                                        only). Must attach signed application for the court’s                  A plan is being filed with this petition
                                                                        consideration. See Official Form 3B.                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                                                                                               accordance with 11 U.S.C. § 1126(b).
                                                                      Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR
                                                                                                                                                                                                                                  COURT USE ONLY
                                                                      ü  Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                         distribution to unsecured creditors.
                                                                     Estimated Number of Creditors
                                                                     ü
                                                                     1-49      50-99         100-199      200-999       1,000-         5,001-           10,001-             25,001-             50,001-           Over
                                                                                                                        5,000          10,000           25,000              50,000              100,000           100,000
                                                                     Estimated Assets

                                                                     $0 to
                                                                                             ü
                                                                             $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                     Estimated Liabilities

                                                                     $0 to
                                                                                             ü
                                                                             $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                         Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                                 Desc: Main
                                                                     B1 (Official Form 1) (04/13)  Document Page 2 of 52                                                                                                    Page 2
                                                                     Voluntary Petition                          Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA

                                                                                           All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                      Location                                                      Case Number:                                               Date Filed:
                                                                      Where Filed:US Banckruptcy Court District Of PR/ Old San Juan 10-05390-ESL13                                             6/18/2010
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:N/A
                                                                         Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                             Judge:


                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                     that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                     X   /s/ Roberto Figueroa Carrasquillo                              8/17/15
                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                             Exhibit C
                                                                      Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                      or safety?
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                      ü No
                                                                                                                                             Exhibit D
                                                                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                          ü Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                      If this is a joint petition:
                                                                           ü Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.
                                                                                                                        Information Regarding the Debtor - Venue
                                                                                                                                     (Check any applicable box.)
                                                                          ü Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                    Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                (Check all applicable boxes.)
                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                            (Name of landlord that obtained judgment)

                                                                                                                                        (Address of landlord)
                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                                                                              the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                              filing of the petition.
                                                                              Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                                                         Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                                                  Desc: Main
                                                                     B1 (Official Form 1) (04/13)  Document Page 3 of 52                                                                                                                            Page 3
                                                                     Voluntary Petition                          Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                                 MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA

                                                                                                                                                      Signatures
                                                                                     Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                         petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts              in a foreign proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed                 (Check only one box.)
                                                                      under chapter 7, 11, 12 or 13 of title 11, United States Code, understand
                                                                                                                                                                 I request relief in accordance with chapter 15 of title 11, United
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                                 States Code. Certified copies of the documents required by 11 U.S.C.
                                                                      chapter 7.
                                                                                                                                                                 § 1515 are attached.
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                      the petition] I have obtained and read the notice required by 11 U.S.C. §                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                      342(b).                                                                                    chapter of title 11 specified in this petition. A certified copy of the
                                                                      I request relief in accordance with the chapter of title 11, United States                 order granting recognition of the foreign main proceeding is attached.
                                                                      Code, specified in this petition.
                                                                                                                                                            X
                                                                      X   /s/ RAFAEL MARTINEZ FUENTES                                                            Signature of Foreign Representative
                                                                          Signature of Debtor  RAFAEL MARTINEZ FUENTES
                                                                      X   /s/ LUZ ESTRELLA CORTES TORRES                                                         Printed Name of Foreign Representative
                                                                                            LUZ ESTRELLA CORTES TORRES
                                                                          Signature of Joint Debtor

                                                                                                                                                                 Date
                                                                          Telephone Number (If not represented by attorney)
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                          August 17, 2015
                                                                          Date

                                                                                                      Signature of Attorney*                                                 Signature of Non-Attorney Petition Preparer
                                                                                                                                                            I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X   /s/ Roberto Figueroa Carrasquillo                                                 preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                               compensation and have provided the debtor with a copy of this document
                                                                                                                                                            and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Roberto Figueroa Carrasquillo USDC 203614                                         110(h) and 342(b); and 3) if rules or guidelines have been promulgated
                                                                          R. Figueroa Carrasquillo Law Office                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                          PO Box 186                                                                        chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          Caguas, PR 00726-0186                                                             notice of the maximum amount before preparing any document for filing
                                                                          (787) 744-7699 Fax: (787) 746-5294                                                for a debtor or accepting any fee from the debtor, as required in that
                                                                          rfigueroa@rfclawpr.com                                                            section. Official Form 19 is attached.

                                                                                                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                                                                                            Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                                                                                            Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                            bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          August 17, 2015
                                                                          Date
                                                                      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         Address
                                                                      certification that the attorney has no knowledge after an inquiry that the
                                                                      information in the schedules is incorrect.

                                                                                  Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this              X
                                                                      petition is true and correct, and that I have been authorized to file this                 Signature
                                                                      petition on behalf of the debtor.
                                                                                                                                                                 Date
                                                                      The debtor requests relief in accordance with the chapter of title 11,                Signature of Bankruptcy Petition Preparer or officer, principal, responsible
                                                                      United States Code, specified in this petition.                                       person, or partner whose social security number is provided above.

                                                                                                                                                            Names and Social-Security numbers of all other individuals who prepared or
                                                                      X                                                                                     assisted in preparing this document unless the bankruptcy petition preparer is
                                                                          Signature of Authorized Individual                                                not an individual:

                                                                                                                                                            If more than one person prepared this document, attach additional sheets
                                                                          Printed Name of Authorized Individual
                                                                                                                                                            conforming to the appropriate official form for each person.
                                                                                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                          Title of Authorized Individual                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                                                                            imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                          Date
                                                                                  Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                                                                                                Desc: Main
                                                                                                            Document Page 4 of 52
                                                                                                                                                             United States Bankruptcy Court
                                                                                                                                                                  District of Puerto Rico

                                                                     IN RE:                                                                                                                                                                     Case No.
                                                                     MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                                                                                                                     Chapter 13
                                                                                                                                                  Debtor(s)

                                                                                                                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                                                     1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that compensation paid to me within
                                                                            one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation
                                                                            of or in connection with the bankruptcy case is as follows:

                                                                            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $               3,000.00

                                                                            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                     505.00

                                                                            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $   2,495.00

                                                                     2.     The source of the compensation paid to me was:                            üDebtor                 Other (specify):

                                                                     3.     The source of compensation to be paid to me is:                           üDebtor                 Other (specify):

                                                                     4.     ü I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
                                                                                   I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy of the agreement,
                                                                                   together with a list of the names of the people sharing in the compensation, is attached.
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                                                                            a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                            b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
                                                                            c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                                                                            d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
                                                                            e.     [Other provisions as needed]




                                                                     6.     By agreement with the debtor(s), the above disclosed fee does not include the following services:




                                                                                                                                                                                    CERTIFICATION
                                                                          I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                                                                          proceeding.


                                                                                                   August 17, 2015                                                  /s/ Roberto Figueroa Carrasquillo
                                                                                                               Date                                                 Roberto Figueroa Carrasquillo USDC 203614
                                                                                                                                                                    R. Figueroa Carrasquillo Law Office
                                                                                                                                                                    PO Box 186
                                                                                                                                                                    Caguas, PR 00726-0186
                                                                                                                                                                    (787) 744-7699 Fax: (787) 746-5294
                                                                                                                                                                    rfigueroa@rfclawpr.com
                                                                            Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                 Desc: Main
                                                                                                      Document Page 5 of 52
                                                                     FB 201A (Form 201A) (06/14)


                                                                                                         UNITED STATES BANKRUPTCY COURT

                                                                                                   NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                                                                                            OF THE BANKRUPTCY CODE

                                                                              In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
                                                                     Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
                                                                     costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
                                                                     notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

                                                                             You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
                                                                     advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
                                                                     cannot give you legal advice.

                                                                              Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
                                                                     ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
                                                                     court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
                                                                     each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
                                                                     receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     statement with the court requesting that each spouse receive a separate copy of all notices.

                                                                     1. Services Available from Credit Counseling Agencies

                                                                             With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
                                                                     bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
                                                                     credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
                                                                     days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted
                                                                     by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
                                                                     United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
                                                                     approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

                                                                             In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
                                                                     management instructional course before he or she can receive a discharge. The clerk also has a list of approved
                                                                     financial management instructional courses. Each debtor in a joint case must complete the course.

                                                                     2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

                                                                               Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
                                                                               Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
                                                                     Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
                                                                     should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
                                                                     residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
                                                                     have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court
                                                                     to decide whether the case should be dismissed.
                                                                               Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
                                                                     right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
                                                                     creditors.
                                                                               The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
                                                                     have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your
                                                                            Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                 Desc: Main
                                                                                                      Document Page 6 of 52
                                                                     Form B 201A, Notice to Consumer Debtor(s)                                                                                     Page 2

                                                                     discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                              Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
                                                                     may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
                                                                     and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
                                                                     which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a
                                                                     motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose
                                                                     from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine
                                                                     that the debt is not discharged.

                                                                              Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
                                                                     $75 administrative fee: Total fee $310)
                                                                              Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
                                                                     installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
                                                                     set forth in the Bankruptcy Code.
                                                                              Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
                                                                     them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
                                                                     depending upon your income and other factors. The court must approve your plan before it can take effect.
                                                                              After completing the payments under your plan, your debts are generally discharged except for domestic support
                                                                     obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
                                                                     properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     secured obligations.

                                                                              Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
                                                                              Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
                                                                     provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with
                                                                     an attorney.

                                                                              Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
                                                                              Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
                                                                     future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
                                                                     income arises primarily from a family-owned farm or commercial fishing operation.

                                                                     3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

                                                                              A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
                                                                     perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
                                                                     information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
                                                                     acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
                                                                     employees of the Department of Justice.

                                                                     WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding
                                                                     your creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be
                                                                     dismissed if this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the
                                                                     Bankruptcy Rules, and the local rules of the court. The documents and the deadlines for filing them are listed on Form
                                                                     B200, which is posted at http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
                                                                             Case:15-06252-ESL13
                                                                     B201B (Form 201B) (12/09)                 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                             Desc: Main
                                                                                                                     Document Page 7 of 52
                                                                                                                       United States Bankruptcy Court
                                                                                                                           District of Puerto Rico

                                                                     IN RE:                                                                                           Case No.
                                                                     MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                                           Chapter 13
                                                                                                                Debtor(s)

                                                                                                    CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                        UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                      Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                     I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                     notice, as required by § 342(b) of the Bankruptcy Code.


                                                                     Printed Name and title, if any, of Bankruptcy Petition Preparer                                 Social Security number (If the bankruptcy
                                                                     Address:                                                                                        petition preparer is not an individual, state
                                                                                                                                                                     the Social Security number of the officer,
                                                                                                                                                                     principal, responsible person, or partner of
                                                                                                                                                                     the bankruptcy petition preparer.)
                                                                                                                                                                     (Required by 11 U.S.C. § 110.)
                                                                     X
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                     partner whose Social Security number is provided above.

                                                                                                                            Certificate of the Debtor

                                                                     I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                                                                        X /s/ RAFAEL MARTINEZ FUENTES
                                                                     MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                                                                             8/17/2015
                                                                     Printed Name(s) of Debtor(s)                                              Signature of Debtor                                            Date


                                                                     Case No. (if known)                                                    X /s/ LUZ ESTRELLA CORTES TORRES                            8/17/2015
                                                                                                                                               Signature of Joint Debtor (if any)                             Date


                                                                     Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                     Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                     NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                     attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                     page 3 of Form B1 also include this certification.
                                                                                 Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                     Desc: Main
                                                                                                           Document Page 8 of 52

                                                                       Fill in this information to identify your case:                                                               Check as directed in lines 17 and 21:
                                                                                                                                                                                     According to the calculations required by
                                                                       Debtor 1          RAFAEL MARTINEZ FUENTES
                                                                                         __________________________________________________________________                          this Statement:
                                                                                           First Name               Middle Name            Last Name

                                                                       Debtor 2            LUZ  ESTRELLA CORTES TORRES
                                                                                           ________________________________________________________________                              1. Disposable income is not determined
                                                                       (Spouse, if fil ing) First Name              Middle Name            Last Name                                        under 11 U .S.C. § 1325(b)(3).

                                                                       United States Bankruptcy Court for the:   District of Puerto Rico                                             ü 2. Disposable income is determined
                                                                                                                                                                                            under 11 U .S.C. § 1325(b)(3).
                                                                       Case number         ___________________________________________
                                                                       (If known)                                                                                                        3. The commitment period is 3 years .
                                                                                                                                                                                     ü 4. The commitment period is 5 years.
                                                                                                                                                                                         Check if this is an amended filing

                                                                     Official Form 22C–1
                                                                     Chapter 13 Statement of Your Current Monthly Income
                                                                     and Calculation of Commitment Period                                                                                                             12/14

                                                                     Be as complete and accurate as p ossible. If two married people are filing together, both are equally responsible for being accurate. If
                                                                     more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
                                                                     top of any additional pages, write your name and case number (if known).
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     Part 1:          Calculate Your Average Monthly Income

                                                                     1. What is your marital and filing status? Check one only.
                                                                              Not married. Fill out Column A, lines 2-11.
                                                                         ü Married. Fill out both Columns A and B, lines 2-11.
                                                                        Fill in the average monthly income that you received fr om all sources, derived during the 6 ful l months before you file this
                                                                        bankruptcy case. 11 U.S.C. § 101(10A). For exam ple, if you are filing on September 15, the 6-month period would be March 1 through
                                                                        August 31. If t he amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. F ill in
                                                                        the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
                                                                        from that property i n one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                                                                                      Column A                Column B
                                                                                                                                                                     Debtor 1                 Debto r 2 or
                                                                                                                                                                                              non -filing spouse

                                                                     2. Your gross w ages, salary, tips, bonuses, overti me, and com missions (before all
                                                                        payrol l deductions ).                                                                        $____________
                                                                                                                                                                               0.00              $__________
                                                                                                                                                                                                        0.00
                                                                     3. Alimony and maintenance payments. Do not include payments from a spouse if
                                                                        Column B is filled in.                                                                                 0.00
                                                                                                                                                                      $____________                     0.00
                                                                                                                                                                                                 $__________

                                                                     4. All amounts from any source which are r egular ly paid for household expenses of
                                                                        you or your dependents, including child support. Include regular contributions from
                                                                        an unmarried partner, members of your household, your dependents, parents , and
                                                                        roommates. Include regular contributions from a spouse only if Column B is not filled
                                                                        in. Do not include payments you listed on line 3.                                                     0.00
                                                                                                                                                                      $___________                      0.00
                                                                                                                                                                                                 $__________

                                                                     5. Net income from operating a b usiness, profession, or farm

                                                                        Gross receipts (before all deductions)                                      0.00
                                                                                                                                           $____________

                                                                        Ordinary and necessary operating expenses                        – $____________
                                                                                                                                                    0.00

                                                                                                                                                            Copy
                                                                        Net mont hly income from a business, profession, or farm                    0.00
                                                                                                                                           $____________                       0.00
                                                                                                                                                                      $____________                    0.00
                                                                                                                                                                                                 $_________
                                                                                                                                                            here


                                                                     6. Net income from rental and other real property
                                                                        Gross receipts (before all deductions)                                  2,700.00
                                                                                                                                           $____________

                                                                        Ordinary and necessary operating expenses                     – $_____________
                                                                                                                                                 0.00
                                                                                                                                                            Copy
                                                                        Net mont hly income from rental or other real property                  2,700.00
                                                                                                                                           $____________
                                                                                                                                                            here           2,700.00
                                                                                                                                                                      $____________                    0.00
                                                                                                                                                                                                $__________

                                                                      Official Form 22C–1                Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                            page 1
                                                                                  Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16 Desc: Main
                                                                      Debtor 1       RAFAEL MARTINEZ FUENTES                Document Page 9 of 52
                                                                                     _______________________________________________________   Case number (if known)_____________________________________
                                                                                           First Name          Middle Nam e                 Last Name



                                                                                                                                                                                                               Column A                             Column B
                                                                                                                                                                                                               Debtor 1                             Deb tor 2 or
                                                                                                                                                                                                                                                    n on- filing spouse

                                                                     7. Interest, dividends, and royalties                                                                                                                0.00
                                                                                                                                                                                                                 $____________                                0.00
                                                                                                                                                                                                                                                       $__________

                                                                     8. Unemployment compensation                                                                                                                         0.00
                                                                                                                                                                                                                 $____________                                0.00
                                                                                                                                                                                                                                                       $__________

                                                                          Do not enter the amount if you contend that the amount received was a benefit under
                                                                          the Social Security Act. Instead, list it here: .... ..............................

                                                                             For you .......................................................................                   313.50
                                                                                                                                                                       $_____________
                                                                             For your spouse .........................................................                           0.00
                                                                                                                                                                       $_____________

                                                                     9. Pension or retirem ent income. Do not include any amount received that was a
                                                                          benefit under the Social Security Act.                                                                                                          0.00
                                                                                                                                                                                                                 $____________                                0.00
                                                                                                                                                                                                                                                       $__________

                                                                     10. Income from all other sources not listed above. Specify the source and amount.
                                                                          Do not include any benefits received under the Social Security Act or payments
                                                                          received as a victim of a war crime, a crime against humanity , or international or
                                                                          domestic terrorism. If necess ary, list other s ources on a s eparate page and put the
                                                                          total on l ine 10c.
                                                                                                                                                                                                                 $_____________                       $___________
                                                                            10a. __________________________________________________________________
                                                                                                                                                                                                                 $_____________                       $___________
                                                                            10b. __________________________________________________________________

                                                                                                                                                                                                             + $____________                       + $__________
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                            10c. Total amounts from separate pages, if any.                                                                                             0.00                                0.00

                                                                     11. Calculate your total average monthly income. Add lines 2 through 10 for each
                                                                          column. Then add the total f or Column A to the total for Column B.                                                                         2,700.00
                                                                                                                                                                                                                 $____________                +               0.00
                                                                                                                                                                                                                                                      $___________            =    2,700.00
                                                                                                                                                                                                                                                                                  $________
                                                                                                                                                                                                                                                                                  Total average
                                                                                                                                                                                                                                                                                  m onthly income




                                                                     Part 2:            Determine How to Measure Your Deductions from Income

                                                                     12. Copy your total average monthly income from line 11. ..........................................................................................................................
                                                                                                                                                                                                                                                                              $_____________
                                                                                                                                                                                                                                                                                    2,700.00
                                                                     13. Calculate the marital adjustment. Check one:

                                                                               You are not married. Fill in 0 in line 13d.

                                                                          ü You are married and your spouse is filing with you. Fill in 0 in line 13d.
                                                                               You are married and your spouse is not filing with you.
                                                                               Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you
                                                                               or your dependents, such as payment of t he spouse’s tax liability or the spouse’s support of someone other than you or
                                                                               your dependents.
                                                                                In lines 13a-c, specify the basis for excluding this i ncome and t he amount of income devoted to each purpose. If
                                                                                necessar y, list additional adjustments on a s eparate page.

                                                                                If this adjustment does not apply, enter 0 on line 13d.

                                                                                13a. _______________________________________________________________________                                                         $___________
                                                                                13b. _______________________________________________________________________                                                         $___________
                                                                                13c. _______________________________________________________________________                                                      + $___________
                                                                                13d. Total .............................................................................................................                     0.00
                                                                                                                                                                                                                     $___________                 Copy here.          13d .           0.00
                                                                                                                                                                                                                                                                              ____________


                                                                     14. Your current monthly income. Subtract line 13d from line 12.                                                                                                                                 14.          2,700.00
                                                                                                                                                                                                                                                                               $ __________


                                                                     15. Calculate your current monthly income for the year. Follow these steps:

                                                                          15a. Copy line 14 here                ..................................................................................................................................................... 15a.          2,700.00
                                                                                                                                                                                                                                                                              $ ____________

                                                                                  Multiply line 15a by 12 (the number of months i n a year).                                                                                                                                  x 12
                                                                          15b. The result is your c urrent monthl y income for the year for this part of the form.                                                                                                  15b.
                                                                                                                                                                                                                                                                                32,400.00
                                                                                                                                                                                                                                                                              $___________


                                                                      Official Form 22C–1                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                               page 2
                                                                                  Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16 Desc: Main
                                                                      Debtor 1       RAFAEL MARTINEZ FUENTES               Document Page 10 of Case
                                                                                     _______________________________________________________    52 number (if known)_____________________________________
                                                                                          First Name          Middle Nam e                Last Name




                                                                     16. Calculate the median family income that applies to you. Follow these steps:

                                                                          16a. Fill in the state in which you li ve.                                             _________
                                                                                                                                                                 Puerto Rico

                                                                          16b. Fill in the number of people in your household.                                   _________
                                                                                                                                                                   2

                                                                          16c. Fill in the median family income for your state and size of household. ............................................................................ 16c.
                                                                                                                                                                                                                                                                          23,443.00
                                                                                                                                                                                                                                                                       $___________
                                                                                  To find a list of applicable median income amounts, go online using the link specified in the separate
                                                                                  instructions for this form. This list may also be available at the bankruptcy clerk’s office.

                                                                     17. How do the lines compare?

                                                                          17a.         Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11 U.S.C.
                                                                                       § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 22C–2).

                                                                          17b.   ü Line 15b is more t han line 16c. On the top of page 1 of this form, check box 2, Dis posable income is determined under 11 U.S.C.
                                                                                       § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 22C–2). On line 39 of that form, copy
                                                                                       your current monthly income from line 14 above.

                                                                     Part 3:             Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)


                                                                     18. Copy your total average monthly income from line 11. .......................................................................................................................... 18.
                                                                                                                                                                                                                                                                          2,700.00
                                                                                                                                                                                                                                                                       $__________
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
                                                                          that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s
                                                                          income, copy the amount from line 13d.
                                                                          If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                    19a.            0.00
                                                                                                                                                                                                                                                                       $__________

                                                                          Subtract line 19a from line 18.                                                                                                                                                     19b.
                                                                                                                                                                                                                                                                          2,700.00
                                                                                                                                                                                                                                                                       $__________

                                                                     20. Calculate your current monthly income for the year. Follow these steps:


                                                                          20a. Copy line 19b.. ............................................................................................................................................................... 20a.
                                                                                                                                                                                                                                                                           2,700.00
                                                                                                                                                                                                                                                                       $___________

                                                                                  Multiply by 12 (the number of months in a year).                                                                                                                                    x 12
                                                                          20b . The result is your current monthly income for the year for this part of the form.                                                                                            20b.         32,400.00
                                                                                                                                                                                                                                                                       $___________


                                                                          20c. Copy the median family income for your state and size of household from line 16c. .... ....................................................
                                                                                                                                                                                                                                                                          23,443.00
                                                                                                                                                                                                                                                                       $___________

                                                                     21. How do the lines compare?

                                                                               Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment period is
                                                                               3 years. Go to Part 4.
                                                                          ü    Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
                                                                               check box 4, The commitment period is 5 years . Go to Part 4.


                                                                      Part 4:           Sign Below

                                                                             By signing here, under penalty of perjur y I declare that the i nformation on this st atement and in any attachments is true and correct.

                                                                                   ___________________________________________________
                                                                                  /s/ RAFAEL MARTINEZ FUENTES                                                                            ____________________________________
                                                                                                                                                                                         /s/ LUZ ESTRELLA CORTES TORRES
                                                                                   Signatur e of Debtor 1                                                                                Signature of Debtor 2


                                                                                  Date _________________
                                                                                       August 17, 2015                                                                                        August 17, 2015
                                                                                                                                                                                         Date _________________
                                                                                         MM / DD         / YYYY                                                                                  MM / DD         / YYYY



                                                                             If you checked 17a, do N OT fill out or file Form 22C–2.
                                                                             If you checked 17b, fill out Form 22C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




                                                                      Official Form 22C–1                         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                      page 3
                                                                                Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                   Desc: Main
                                                                                                          Document Page 11 of 52
                                                                      Fill in this information to identify your case:

                                                                      Debtor 1          RAFAEL MARTINEZ
                                                                                        ____________             FUENTES
                                                                                                     _______________ ______________________________ _________
                                                                                          First Name                Middle Name             Last Name

                                                                      Debtor 2            LUZ  ESTRELLA CORTES_______________
                                                                                          ___________________________ TORRES  ______________________
                                                                      (Spo use, if filing) First Name               Middle Name             Last Name


                                                                      United States Bankruptcy Court for the: District    of Puerto Rico
                                                                      Case number         ___________________________ _______________ _
                                                                      (If known)
                                                                                                                                                                                        Check if this is an amended filing



                                                                     Official Form 22C–2
                                                                     Chapter 13 Calculation of Your Disposable Income                                                                                               12/14

                                                                     To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
                                                                     Commitment Period (Official Form 22C–1).
                                                                     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
                                                                     more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
                                                                     top of any additional pages, write your name and case number (if known).
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     Part 1:          Calculate Your Deductions from Your Income



                                                                         The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
                                                                         answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
                                                                         this form. This information may also be available at the bankruptcy clerk’s office.
                                                                        Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some
                                                                        of your actual expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from
                                                                        income in lines 5 and 6 of Form 22C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13
                                                                        of Form 22C–1.

                                                                        If your expenses differ from month to month, enter the average expense.

                                                                        Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.




                                                                         5.    The number of people used in determining your deductions from income
                                                                               Fill in the number of people who could be claimed as exemptions on your federal income tax return,
                                                                               plus the number of any additional dependents whom you support. This number may be different                              2
                                                                               from the number of people in your household.



                                                                          National Standards            You must use the IRS National Standards to answer the questions in lines 6-7.



                                                                         6.   Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
                                                                              Standards, fill in the dollar amount for food, clothing, and other items.                                                      $________
                                                                                                                                                                                                               1,092.00



                                                                         7.   Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
                                                                              fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories people who are
                                                                              under 65 and people who are 65 or older because older people have a higher IRS allowance for health care costs. If your
                                                                              actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.




                                                                     Official Form 22C 2                                     Chapter 13 Calculation of Your Disposable Income                                             page 1
                                                                              Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16 Desc: Main
                                                                     Debtor 1    RAFAEL MARTINEZ FUENTES
                                                                                                                       Document Page 12 of Case
                                                                                 _______________________________________________________
                                                                                                                                            52 number (if known)_____________________________________
                                                                                      First Name         Middle Nam e               Last Name




                                                                               People who are under 65 years of age

                                                                                                                                             60.00
                                                                                7a. Out-of-pocket health care allowance per person $______________

                                                                                7b. Number of people who are under 65                                             1
                                                                                                                                                           X ______
                                                                                                                                                                                          Cop y lin e
                                                                                7c. Subtotal. Multiply line 7a by line 7b.                                           60.00
                                                                                                                                                           $______________
                                                                                                                                                                                          7c here
                                                                                                                                                                                                               60.00
                                                                                                                                                                                                        $___________


                                                                                 Peopl e who are 65 years of age or older

                                                                                                                                           144.00
                                                                                7d. Out-of-pocket health care allowance per person $______________

                                                                                7e. Number of people who are 65 or older                                          1
                                                                                                                                                           X ______
                                                                                                                                                                                          Cop y lin e
                                                                                7f. Subtotal. Multiply line 7d by line 7e.                                 $______________
                                                                                                                                                                    144.00                7f here
                                                                                                                                                                                                        +        144.00
                                                                                                                                                                                                            $__________

                                                                                                                                                                                                                            Cop y total
                                                                           7g. Total. Add lines 7c and 7f. .... ................................ ....................................................        204.00
                                                                                                                                                                                                        $___________                                   204.00
                                                                                                                                                                                                                                                    $________
                                                                                                                                                                                                                            here    ......... 7g.

                                                                       Local
                                                                                              You must use the IRS Loc al Standards to answer the questions in lines 8-15.
                                                                       Standards

                                                                       Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy purposes
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                       into two parts:
                                                                          Housing and utilities – Insurance and operating expenses
                                                                          Housing and utilities – Mortgage or rent expenses

                                                                       To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
                                                                       specified in the separate inst ructions for this form. This chart may also be available at the bankruptcy clerk’s office.

                                                                       8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in
                                                                           the dollar amount listed for your county for insurance and operating expenses.                                                                                           $_______
                                                                                                                                                                                                                                                      581.00

                                                                       9. Housing and utilities – Mortgage or rent expenses:

                                                                                9a. Using the number of people you entered in line 5, fill in the dollar amount
                                                                                      listed for your county for mortgage or rent expenses.                                                                 892.00
                                                                                                                                                                                                        $__________

                                                                                9b. Total average monthly payment for all mortgages and other debts sec ured by
                                                                                     your home.
                                                                                      To calculate the total aver age monthly payment, add all amounts that are
                                                                                      contractually due to each secured creditor in the 60 months after you file for
                                                                                      bankruptcy. Next divide by 60.

                                                                                    Name of the creditor                                                   Averag e m onthly
                                                                                                                                                           payment


                                                                                 Banco Popular De ____________________
                                                                                 __________________ PR                                                           537.00
                                                                                                                                                            $__________
                                                                                 Department of Treasury
                                                                                 __________________ ____________________                                           0.00
                                                                                                                                                            $__________

                                                                                 See Continuation Sheet
                                                                                 __________________ ____________________
                                                                                                                                                       +       1,317.00
                                                                                                                                                            $__________
                                                                                                                                                                                       Copy line                             Repeat this amount
                                                                                9b.Total average monthly payment ........................                      1,854.00
                                                                                                                                                            $__________                                     $____________
                                                                                                                                                                                                                 1,854.00    on line 33a.
                                                                                                                                                                                       9b here

                                                                          9c. Net mortgage or rent expense.
                                                                                Subtract line 9b (total average monthly payment) from line 9a (mortgage or rent                                                             Co py 9c here
                                                                                expense). If this number is less than $0, enter $0.
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                        $____________                                    0.00
                                                                                                                                                                                                                                                    $________


                                                                       10. If you claim that the U.S. Tr ustee Program’s division of the IRS Local Standard for housing is incorrect and affects
                                                                                                                                                                                                                                                         0.00
                                                                                                                                                                                                                                                    $________
                                                                           the calculation of your monthly expenses, fill in any additional amount you claim.
                                                                                Explain why:       ________________________________________________________________
                                                                                                   ________________________________________________________________



                                                                     Official Form 22C 2                                             Chapter 13 Calculation of Your Disposable Income                                                                          page 2
                                                                              Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16 Desc: Main
                                                                     Debtor 1    RAFAEL MARTINEZ FUENTES
                                                                                                                       Document Page 13 of Case
                                                                                 _______________________________________________________
                                                                                                                                            52 number (if known)_____________________________________
                                                                                      First Name      Middle Nam e           Last Name



                                                                       11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

                                                                              ü        0. Go to line 14.
                                                                                       1. Go to line 12.
                                                                                       2 or more. Go to line 12.


                                                                       12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating
                                                                           expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                         0.00
                                                                                                                                                                                                                         $_______


                                                                       13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownershi p or lease expense for each
                                                                           vehicle below. You may not claim the expense if you do not make any loan or l ease payments on the vehicle. In addition, you
                                                                           may not claim the expense for more than two vehicles.


                                                                               Vehicle 1           Descr ibe         _______________________________________________________________________
                                                                                                   Vehicle 1:
                                                                                                                     _______________________________________________________________________


                                                                               13a. Ownership or leasing costs using IRS Local Standard
                                                                                                                                                                       13a.
                                                                                                                                                                                          0.00
                                                                                                                                                                                 $____________

                                                                               13b. Average monthly payment for all debts sec ured by Vehic le 1.
                                                                                        Do not include costs for leased vehicles.
                                                                                        To calculate the aver age monthly payment here and on line 13e,
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                        add all amounts that are cont ractually due to each secured
                                                                                        creditor in the 60 months after you file for bankruptcy. Then
                                                                                        divide by 60.
                                                                                      Name of each creditor fo r Vehicle 1               Average m onthly
                                                                                                                                         payment

                                                                                                                                                            Cop y13b                             Repeat this amount
                                                                                                                             0.00
                                                                                 _________________________________ $_____________                           here
                                                                                                                                                                                         0.00
                                                                                                                                                                                 $___________    on line 33b.




                                                                               13c. Net Vehic le 1 ownership or lease expense                                                                      Cop y net Vehicle 1
                                                                                        Subtract line 13b from line 13a. If this number is less than $0, enter $0. 13c.                  0.00
                                                                                                                                                                                 $___________      expense here              0.00
                                                                                                                                                                                                                         $_______




                                                                               Vehicle 2           Descr ibe         _______________________________________________________________________
                                                                                                   Vehicle 2:
                                                                                                                     ________________________________________________________________________


                                                                               13d. Ownership or leasing costs using IRS Local Standard                                13d.              0.00
                                                                                                                                                                                 $___________

                                                                               13e. Aver age monthly payment for all debts secured by Vehicle 2.
                                                                                        Do not include costs for leased vehicles.

                                                                                  Name of each credito r f or Vehicle 2                  Average m onthly
                                                                                                                                         payment


                                                                                                                             0.00                                                                Repeat this amount
                                                                                 _________________________________ $_____________                           Cop y h ere                  0.00
                                                                                                                                                                                 $___________    on line 33c.



                                                                               13f.     Net Vehic le 2 ownership or lease expense                                                                  Cop y net Vehicle 2
                                                                                        Subtract line 13e from 13d. If this number is less than $0, enter $0.             13f.
                                                                                                                                                                                        0.00
                                                                                                                                                                                 $__________
                                                                                                                                                                                                   expense here
                                                                                                                                                                                                                             0.00
                                                                                                                                                                                                                         $_______



                                                                       14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
                                                                           Transportation expense allowance regardless of whether you use public transportation.                                                           185.00
                                                                                                                                                                                                                         $_______

                                                                       15. Addi tional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
                                                                           deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
                                                                           more than the IRS Local Standard for Public Transportation.                                                                                       0.00
                                                                                                                                                                                                                         $_______



                                                                     Official Form 22C 2                                      Chapter 13 Calculation of Your Disposable Income                                                      page 3
                                                                              Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16 Desc: Main
                                                                     Debtor 1    RAFAEL MARTINEZ FUENTES
                                                                                                                       Document Page 14 of Case
                                                                                 _______________________________________________________
                                                                                                                                            52 number (if known)_____________________________________
                                                                                   First Name     Middle Nam e         Last Name




                                                                       Other Necessary                In addition to the expense deductions listed above, you are allowed your monthly expenses for the
                                                                       Expenses                       following IRS categories .

                                                                       16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-
                                                                           employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
                                                                           your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12                                                  0.00
                                                                                                                                                                                                                                            $_______
                                                                           and subtract that number from the total monthly amount that is withheld to pay for taxes.
                                                                           Do not include real estate, sales, or use taxes.

                                                                       17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement cont ributions,
                                                                           union dues, and uniform costs.
                                                                           Do not include amounts that are not required by your job, suc h as voluntary 401(k) cont ributions or payroll savings.                                               0.00
                                                                                                                                                                                                                                            $_______

                                                                       18. Life insur ance: The total monthly premiums that you pay for your own term lif e insurance. If two married people are filing
                                                                           together, i nclude payments that you make for your spouse’s term life insurance.
                                                                           Do not include premiums for life insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life
                                                                           insurance other than term.                                                                                                                                           0.00
                                                                                                                                                                                                                                            $_______

                                                                       19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
                                                                           agency, such as spousal or child support payments.                                                                                                                   0.00
                                                                                                                                                                                                                                            $_______
                                                                           Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

                                                                       20. Education: The total monthly amount that you pay for education that is either requi red:
                                                                             as a condition for your job, or                                                                                                                                    0.00
                                                                                                                                                                                                                                            $_______
                                                                             for your physically or mentally challenged dependent child if no public education is available for similar services.
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                       21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
                                                                           Do not include payments for any elementary or secondary school education.                                                                                            0.00
                                                                                                                                                                                                                                            $_______
                                                                       22. Additional health care expenses, excluding insur ance costs: The mont hly amount that you pay for health care that is
                                                                           requi red for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
                                                                           savings account. Include only the amount that is more than the total ent ered in line 7.
                                                                                                                                                                                                                                            $_______
                                                                                                                                                                                                                                                0.00
                                                                           Payments for health insurance or health savings accounts should be lis ted only in line 25.

                                                                       23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
                                                                           you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
                                                                           service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it
                                                                           is not reimbursed by your employer.                                                                                                                          +        0.00
                                                                                                                                                                                                                                            $________
                                                                           Do not include payments for basic home telephone, internet or cell phone ser vice. Do not include self-employment
                                                                           expenses, such as those reported on line 5 of Form 22C-1, or any amount you previously deducted.

                                                                       24. Add all of the expenses allowed under the IRS expense allowances.                                                                                                 2,062.00
                                                                                                                                                                                                                                            $________
                                                                           Add lines 6 through 23.

                                                                       Additional Expense                   These are additional deductions allowed by the Means Test.
                                                                       Deductions                           Note: Do not include any expense allowances listed in lines 6-24.

                                                                       25. Heal th insurance, disability insurance, and health savings account expenses. The monthly expenses for health
                                                                           insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
                                                                           dependents.
                                                                               Health insurance                                           0.00
                                                                                                                                   $__________
                                                                               Disability insurance                                       0.00
                                                                                                                                   $__________
                                                                               Health savings account                                   0.00
                                                                                                                               + $__________
                                                                               Total                                                      0.00
                                                                                                                                   $__________     Copy total here   ................................ ...............................            0.00
                                                                                                                                                                                                                                            $________

                                                                               Do you actually spend this total amount?
                                                                               No. How much do you actually spend?
                                                                                                                                      0.00
                                                                                                                               $__________
                                                                           ü   Yes

                                                                       26. Continuing contributions to the care of household or family members. The act ual monthly expenses that you will
                                                                           continue to pay f or the reasonable and necessary care and support of an elderly, chronical ly ill, or disabled member of your                                       0.00
                                                                                                                                                                                                                                            $_______
                                                                           household or member of your immediate family who is unable to pay for such expenses.

                                                                       27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
                                                                           you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.                                                          0.00
                                                                                                                                                                                                                                            $_______
                                                                           By law, the court must keep the nature of these expenses confidential.

                                                                     Official Form 22C 2                                Chapter 13 Calculation of Your Disposable Income                                                                               page 4
                                                                              Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16 Desc: Main
                                                                     Debtor 1    RAFAEL MARTINEZ FUENTES
                                                                                                                       Document Page 15 of Case
                                                                                 _______________________________________________________
                                                                                                                                            52 number (if known)_____________________________________
                                                                                    First Name         Middle Nam e               Last Name



                                                                       28. Additional home energ y costs. Your home energy costs are included in your non-mortgage housing and utilities allowance
                                                                           on line 8.
                                                                           If you believe that you have home energy costs that are more than the home energy costs included in the non-mortgage                                                 0.00
                                                                                                                                                                                                                                            $_______
                                                                           housing and utilities allowance, t hen fill in the excess amount of home energy costs.
                                                                           You must give your case trustee document ation of your act ual expenses, and you must show that the additional amount
                                                                           claimed is reasonable and necessary.

                                                                       29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $156.25*
                                                                           per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
                                                                                                                                                                                                                                                0.00
                                                                                                                                                                                                                                            $_______
                                                                           elementary or secondary school.
                                                                           You must give your case trustee document ation of your actual expenses, and you must explain why the amount c laimed is
                                                                           reasonable and necessary and not already accounted for in lines 6-23.
                                                                           * Subject to adjustment on 4/01/16, and every 3 years after that for cases begun on or after the date of adjustment.

                                                                       30. Additional food and cl othing expense. The monthly amount by whic h your actual food and clothing expenses are higher
                                                                           than the combined food and clothing allowances in t he IRS National Standards. That amount cannot be more than 5% of the
                                                                                                                                                                                                                                                0.00
                                                                                                                                                                                                                                            $_______
                                                                           food and clothing allowances in the IRS National Standards.
                                                                           To find a chart showing the maximum additional allowance, go online using the link specified in the separate
                                                                           instruc tions for this form. This chart may also be avai lable at the bankruptcy clerk’s office.
                                                                           You must show that the additional amount claimed is reasonable and necessary.


                                                                       31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cas h or financial
                                                                                                                                                                                                                                        +
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                           instruments to a religious or charitable organi zation. 11 U.S.C. § 548(d)3 and (4).                                                                             _________
                                                                                                                                                                                                                                                 0.00
                                                                           Do not include any amount more than 15% of your gross monthly income.

                                                                       32. Add all of the additional expense deductions.                                                                                                                $___________
                                                                                                                                                                                                                                                0.00
                                                                           Add lines 25 through 31.

                                                                       Deductions for Debt Paym ent

                                                                       33. For debts that are secured by an interest in property that you own, including home mortgages,
                                                                           vehicle loans, and other secured debt, fill in lines 33a through 33g.
                                                                           To calculate the total average monthly payment, add all amounts that are c ontractually due to each
                                                                           secured c reditor in the 60 months after you file for bankruptcy. Then divide by 60.



                                                                                                                                                                                                        Average mo nthly
                                                                                                                                                                                                        payment
                                                                               Mortgages o n your hom e

                                                                               33a. Copy line 9b here ............................................................................................           1,854.00
                                                                                                                                                                                                         $___________

                                                                               Loan s on your first two vehicles

                                                                               33b. Copy line 13b here. .........................................................................................                0.00
                                                                                                                                                                                                         $___________

                                                                               33c. Copy line 13e here. .........................................................................................        $___________
                                                                                                                                                                                                                 0.00

                                                                               Name of each creditor for other                        Identif y property that secu res                 Does paym ent
                                                                               secured debt                                           the debt                                         include taxes
                                                                                                                                                                                       or insurance?

                                                                                                                                                                                              No               537.00
                                                                                                                                                                                                         $___________
                                                                                    Banco Popular De PR
                                                                               33d. ____________________________  Residence
                                                                                                                 _____________________________                                            üYes
                                                                                                                                                                                          üNo                   23.19
                                                                                                                                                                                                         $___________
                                                                                    CRIM
                                                                               33e. ____________________________   18 Monsenor Berrios Caguas PR
                                                                                                                 _____________________________                                                Yes
                                                                                                                                                                                              No             1,327.25
                                                                                    See Continuation Sheet _____________________________
                                                                               33f. _____________________________
                                                                                                                                                                                                       + $___________
                                                                                                                                                                                              Yes
                                                                                                                                                                                                                           Copy total
                                                                               33g. Total average monthly payment. Add lines 33a through 33f. ......................................                        1,887.44
                                                                                                                                                                                                        $___________                        $_______
                                                                                                                                                                                                                                              1,887.44
                                                                                                                                                                                                                           here




                                                                     Official Form 22C 2                                            Chapter 13 Calculation of Your Disposable Income                                                                     page 5
                                                                              Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16 Desc: Main
                                                                     Debtor 1    RAFAEL MARTINEZ FUENTES
                                                                                                                       Document Page 16 of Case
                                                                                 _______________________________________________________
                                                                                                                                            52 number (if known)_____________________________________
                                                                                    First Name       Middle Nam e             Last Name




                                                                       34. Are an y debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary for
                                                                           your support or the support of your dependents?


                                                                               No. Go to line 35.
                                                                           ü Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep possession of
                                                                                     your property (called the cure amount). Next, divide by 60 and fill in the information below.

                                                                                       Name of the cred itor                  Identify p roperty that             T otal cure                     Monthly cure am oun t
                                                                                                                              secures the debt                    amount


                                                                                       Scotiabank De Puerto Rico
                                                                                       __________________________            Residence
                                                                                                                             __________________                     74,446.20
                                                                                                                                                                  $______ ____         ÷ 60 =         1,240.77
                                                                                                                                                                                                  $___________


                                                                                       __________________________            __________________                   $__________          ÷ 60 =     $___________


                                                                                       __________________________            __________________                   $__________          ÷ 60 = + $___________
                                                                                                                                                                                                                          Copy
                                                                                                                                                                                       Total          1,240.77
                                                                                                                                                                                                  $___________            total   $_______
                                                                                                                                                                                                                                    1,240.77
                                                                                                                                                                                                                          here


                                                                       35. Do you owe any priority claims   such as a priori ty tax, child support, or alimony                             that are past due as of the
                                                                           filing date of your bankruptcy case? 11 U.S.C. § 507.
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                               No. Go to line 36.
                                                                           ü Yes. Fill in the total amount of all of these priority claims. Do not include cur rent or ongoing
                                                                                     priority c laims, such as those you listed in line 19.

                                                                                      Total amount of all past-due priority claims. .................................... .....................           1,079.93
                                                                                                                                                                                                  $______________         ÷ 60    $_______
                                                                                                                                                                                                                                     18.00


                                                                       36. Projected monthly Chapter 13 plan payment                                                                              $______________

                                                                          Current multiplier for your district as stated on the list issued by the Administrative Office
                                                                          of the United States Courts (for districts in Alabama and North Carolina) or by the
                                                                          Executive Office for United States Trustees (for all other district s).
                                                                                                                                                                                                 x ______
                                                                          To find a list of district multipliers that includes your district, go online using the link specified
                                                                          in the separate instructions for this form. This list may also be available at the bankruptcy
                                                                          clerk’s office.
                                                                                                                                                                                                                          Copy
                                                                                                                                                                                                  $______________         total   $_______
                                                                          Average monthly administrative expense                                                                                                          here


                                                                       37. Add all of the deductions for debt payment. Add lines 33g through 36.
                                                                                                                                                                                                                                  $_______
                                                                                                                                                                                                                                   3,146.21




                                                                       Total Deductions fr om Income

                                                                       38. Add all of the allowed deductions.

                                                                          Copy line 24, All of the expenses allowed under IRS expense allowances ........................                                2,062.00
                                                                                                                                                                                                  $______________

                                                                          Copy line 32, All of the additional expense deductions......................................................                       0.00
                                                                                                                                                                                                  $______________

                                                                          Copy line 37, All of the deductions for debt payment.... .....................................................         + $______________
                                                                                                                                                                                                          3,146.21

                                                                                                                                                                                                                          Copy
                                                                          Total deductions                                                                                                               5,208.21
                                                                                                                                                                                                  $______________         total   $_______
                                                                                                                                                                                                                                    5,208.21
                                                                                                                                                                                                                          here




                                                                     Official Form 22C 2                                       Chapter 13 Calculation of Your Disposable Income                                                                page 6
                                                                               Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16 Desc: Main
                                                                      Debtor 1    RAFAEL MARTINEZ FUENTES
                                                                                                                        Document Page 17 of Case
                                                                                  _______________________________________________________
                                                                                                                                             52 number (if known)_____________________________________
                                                                                        First Name        Middle Nam e            Last Name


                                                                     Part 2:       Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

                                                                     39. Copy your total current monthly income from line 14 of Form 22C-1, Chapter 13                                                                                      $_______
                                                                                                                                                                                                                                              2,700.00
                                                                         Statement of Your Current Monthly Income and Calculation of Commitment Period. .............................................................................
                                                                     40. Fi ll in any r easonably necessar y income you receive for support for dependent children.
                                                                         The monthly average of any child support payments, fost er care payments, or disability
                                                                         payments for a dependent child, reported in Part I of Form 22C-1, that you recei ved in                                                0.00
                                                                                                                                                                                                       $____________
                                                                         accordance with applicable nonbankruptcy law to the extent reasonably necess ary to be
                                                                         expended for such child.

                                                                     41. Fill in all q ualified retirement deductions. The monthly total of all amounts that your
                                                                         em ployer withheld from wages as cont ributions for qualified retirement plans, as specified
                                                                         in 11 U.S.C. § 541(b)(7) plus all requi red repayments of loans from retirement plans, as
                                                                                                                                                                                                                0.00
                                                                                                                                                                                                       $____________
                                                                         specified in 11 U.S.C. § 362(b)(19).


                                                                     42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here ..................                                5,208.21
                                                                                                                                                                                                        $____________


                                                                     43. Deduction for special circumstances. If special circumstances justify additional expenses
                                                                         and you have no reasonable alternative, describe the special circums tances and their
                                                                         expenses. You must give your case trustee a detai led explanation of the special
                                                                         circumstances and documentation for the expenses.

                                                                           Describe the special circum stances                                                 Amount of expense
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                           43a. ______________________________________________________                           $___________

                                                                           43b. ______________________________________________________                           $___________
                                                                           43c. ______________________________________________________                        + $___________
                                                                                                                                                                                        Copy 43d
                                                                           43d. Total. Add lines 43a through 43c .....................................           $___________
                                                                                                                                                                         0.00           here         + $_____________
                                                                                                                                                                                                                 0.00


                                                                                                                                                                                                                         Copy total
                                                                     44. Total adjustments. Add lines 40 and 43d. ...............................................................................             5,208.21
                                                                                                                                                                                                        $_____________
                                                                                                                                                                                                                         here
                                                                                                                                                                                                                                        –   $______
                                                                                                                                                                                                                                             5,208.21




                                                                     45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                        $_______
                                                                                                                                                                                                                                             -2,508.21




                                                                       Part 3:           Change in Income or Expenses


                                                                      46. Change in income or expenses. If the income in Form 22C-1 or the expenses you reported in this form
                                                                           have changed or are virtually certain to change after the date you filed your bankruptcy petition and during
                                                                           the time your case will be open, fill in the information below. For example, if the wages report ed increased
                                                                           after you filed your petition, check 22C-1 in the first col umn, enter line 2 in the second column, explain why
                                                                           the wages increased, fill in when the increase occurred, and fill in the amount of the increase.

                                                                            Form                 Line       Reason f or ch ange                                      Date of chang e            Increase o r    Am ount of change
                                                                                                                                                                                                decrease?

                                                                                22C                                                                                                                 Increase
                                                                                                 ____        _______________________________                        ____________                               $____________
                                                                                22C 2                                                                                                               Decrease


                                                                                22C                                                                                                                 Increase   $____________
                                                                                                 ____        _______________________________                        ____________
                                                                                22C 2                                                                                                               Decrease


                                                                                22C                                                                                                                 Increase
                                                                                                 ____        _______________________________                        ____________                               $____________
                                                                                22C 2                                                                                                               Decrease


                                                                                22C                                                                                                                 Increase   $____________
                                                                                                 ____        _______________________________                        ____________
                                                                                22C 2                                                                                                               Decrease




                                                                      Official Form 22C 2                                           Chapter 13 Calculation of Your Disposable Income                                                                     page 7
                                                                              Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16 Desc: Main
                                                                     Debtor 1    RAFAEL MARTINEZ FUENTES
                                                                                                                       Document Page 18 of Case
                                                                                 _______________________________________________________
                                                                                                                                            52 number (if known)_____________________________________
                                                                                   First Name            Middle Nam e   Last Name




                                                                     Part 4:         Sign B elow



                                                                     By signing here, under penalt y of perjury you declare that the information on this s tatement and in any attachments is true and c orrect.



                                                                         _/s/ RAFAEL MARTINEZ FUENTES
                                                                           __________________________________________________                     __________________________________
                                                                                                                                                  /s/ LUZ ESTRELLA CORTES TORRES
                                                                        Signature of Debtor 1                                                     Signature of Debtor 2


                                                                             August
                                                                        Date _____      17,______
                                                                                   ___ ___  2015                                                  Date August  17, 2015
                                                                                                                                                       _________________
                                                                               MM / DD          / YYYY                                                 MM / DD      / YYYY
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     Official Form 22C 2                                 Chapter 13 Calculation of Your Disposable Income                                          page 8
                                                                              Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                      Desc: Main
                                                                                                             Document Page 19 of 52
                                                                             MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA
                                                                     IN RE                                                                              Case No.
                                                                                                               Debtor(s)


                                                                                            CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                                 Continuation Sheet - Mortgages and other debts secured by your home

                                                                                                                                  Monthly
                                                                     Expense Description                                          Amount
                                                                     Scotiabank De Puerto Rico                                    1,317.00
                                                                     Scotiabank De Puerto Rico                                        0.00
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only
                                                                              Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                   Desc: Main
                                                                                                             Document Page 20 of 52
                                                                             MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA
                                                                     IN RE                                                                        Case No.
                                                                                                         Debtor(s)


                                                                                            CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                                 Continuation Sheet - Future payments on secured claims
                                                                                                                                                                          Does payment
                                                                                                                                                               60-month include taxes or
                                                                     Name of Creditor                        Property Securing the Debt                      Average Pmt     insurance?
                                                                     CRIM                                    4 Ponce de Leon Caguas PR                             10.25       No
                                                                     Scotiabank De Puerto Rico               Residence                                          1,317.00       No
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only
                                                                             Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                           Desc: Main
                                                                     B1D (Official Form 1, Exhibit D) (12/09)
                                                                                                       Document Page 21 of 52
                                                                                                                       United States Bankruptcy Court
                                                                                                                           District of Puerto Rico

                                                                     IN RE:                                                                                           Case No.
                                                                     MARTINEZ FUENTES, RAFAEL                                                                         Chapter 13
                                                                                                                Debtor(s)

                                                                                              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                            CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors’ collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.
                                                                        1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.

                                                                     ü  2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 14 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                     If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                     you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                     of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                     case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                     also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                     counseling briefing.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ RAFAEL MARTINEZ FUENTES
                                                                     Date: August 17, 2015
                                                                             Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                           Desc: Main
                                                                     B1D (Official Form 1, Exhibit D) (12/09)
                                                                                                       Document Page 22 of 52
                                                                                                                       United States Bankruptcy Court
                                                                                                                           District of Puerto Rico

                                                                     IN RE:                                                                                           Case No.
                                                                     CORTES TORRES, LUZ ESTRELLA                                                                      Chapter 13
                                                                                                                Debtor(s)

                                                                                              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                            CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors’ collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.
                                                                        1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.

                                                                     ü  2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 14 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                     If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                     you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                     of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                     case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                     also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                     counseling briefing.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ LUZ ESTRELLA CORTES TORRES
                                                                     Date: August 17, 2015
                                                                           Case:15-06252-ESL13
                                                                     B6 Summary                                  Doc#:1
                                                                                (Official Form 6 - Summary) (12/14)                    Filed:08/17/15 Entered:08/17/15 11:30:16                                     Desc: Main
                                                                                                                                      Document Page 23 of 52
                                                                                                                                  United States Bankruptcy Court
                                                                                                                                      District of Puerto Rico

                                                                     IN RE:                                                                                                                Case No.
                                                                     MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                                                                Chapter 13
                                                                                                                          Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                 ATTACHED             NO. OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)            SHEETS                 ASSETS                 LIABILITIES                OTHER


                                                                      A - Real Property                                                Yes                         1 $         432,000.00



                                                                      B - Personal Property                                            Yes                         3 $           10,502.00



                                                                      C - Property Claimed as Exempt                                   Yes                         1
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                      D - Creditors Holding Secured Claims                             Yes                         2                            $       261,413.28


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                       Yes                         2                            $          2,187.41
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured
                                                                                                                                       Yes                         2                            $         34,355.73
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                       Yes                         1
                                                                          Leases


                                                                      H - Codebtors                                                    Yes                         1


                                                                      I - Current Income of Individual
                                                                                                                                       Yes                         2                                                     $           3,213.50
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                       Yes                         4                                                     $           2,928.50
                                                                          Debtor(s)


                                                                                                                                      TOTAL                      19 $          442,502.00 $             297,956.42
                                                                            Case:15-06252-ESL13
                                                                     B 6 Summary                                 Doc#:1
                                                                                 (Official Form 6 - Summary) (12/14)       Filed:08/17/15 Entered:08/17/15 11:30:16                 Desc: Main
                                                                                                                          Document Page 24 of 52
                                                                                                                     United States Bankruptcy Court
                                                                                                                         District of Puerto Rico

                                                                     IN RE:                                                                                       Case No.
                                                                     MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                                       Chapter 13
                                                                                                              Debtor(s)

                                                                             STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                              If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11
                                                                     U.S.C. § 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report
                                                                     any information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                        Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                    $           0.00

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $      2,187.41
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                      disputed or undisputed)                                                                           $           0.00

                                                                      Student Loan Obligations (from Schedule F)                                                        $           0.00

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                      Schedule E                                                                                        $           0.00

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $           0.00

                                                                                                                                                             TOTAL      $      2,187.41


                                                                      State the following:

                                                                      Average Income (from Schedule I, Line 12)                                                         $      3,213.50

                                                                      Average Expenses (from Schedule J, Line 22)                                                       $      2,928.50

                                                                      Current Monthly Income (from Form 22A-1 Line 11; OR, Form 22B Line 14; OR, Form 22C-1
                                                                      Line 14 )                                                                                         $      2,700.00


                                                                      State the following:

                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                         $          0.00

                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $      1,079.93

                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                           $     1,107.48

                                                                      4. Total from Schedule F                                                                                             $    34,355.73

                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                         $    35,463.21
                                                                            Case:15-06252-ESL13
                                                                     B6A (Official Form 6A) (12/07)                      Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                               Desc: Main
                                                                                                                               Document Page 25 of 52
                                                                     IN RE MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                                                            Case No.
                                                                                                                                Debtor(s)                                                                                                   (If known)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                            HUSBAND, WIFE, JOINT,
                                                                                                                                                                                               OR COMMUNITY
                                                                                                                                                                                                                      CURRENT VALUE OF
                                                                                                                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                 PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                  DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                          EXEMPTION



                                                                     Debtors own a commercial property located at 18 Monseñor                                  FEE SIMPLE                         J                         175,000.00               132,088.32
                                                                     Berrios St. in Caguas, Puerto Rico. This property consists of
                                                                     two (2) levels:
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     1st level
                                                                     -Commercial premises where d/b/a Botanica Cubayende is
                                                                     located;
                                                                     -Residential apartment: two (2) bedrooms, one (1) bathroom,
                                                                     living room, dining room, kitchen.

                                                                     2nd level:
                                                                     -Residential house property: three (3) bedrooms, two (2)
                                                                     bathrooms, living room, dining room, kitchen and balcony.
                                                                     Debtors own a residential property located at 4 Ponce De Leon FEE SIMPLE                                                     J                         150,000.00                   71,834.10
                                                                     St., Caguas, Puerto Rico. This property consists of two (2)
                                                                     levels:
                                                                     1st level:
                                                                     - Apartment: two (2) bedrooms, one (1) bathroom, living room,
                                                                     kitchen.
                                                                     - Apartment: two (2) bedrooms, one (1) bathroom, living room,
                                                                     kitchen.
                                                                     2nd level:
                                                                     -Apartment: one (1) bedroom, one (1) bathroom, living room,
                                                                     kitchen.
                                                                     -Apartment (studio): one (1) bedroom, one (1) bathroom,
                                                                     kitchen.
                                                                     -Apartment (studio): one (1) bedroom, one (1) bathroom,
                                                                     kitchen.
                                                                     Debtors own a residential property located at 71 Rafael        FEE SIMPLE                                                    J                         107,000.00                   57,490.86
                                                                     Cordero St. in Caguas, Puerto Rico. This property consists of
                                                                     six (6) bedrooms, two (2) bathrooms, living room, dining room,
                                                                     kitchen and garage.




                                                                                                                                                                                      TOTAL                                 432,000.00
                                                                                                                                                                                                                    (Report also on Summary of Schedules)
                                                                             Case:15-06252-ESL13
                                                                     B6B (Official Form 6B) (12/07)                        Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                              Desc: Main
                                                                                                                                 Document Page 26 of 52
                                                                     IN RE MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                                                           Case No.
                                                                                                                                Debtor(s)                                                                                             (If known)

                                                                                                                            SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                     “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                     in Schedule C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                     held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                              CURRENT VALUE OF
                                                                                                                       N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                                                      PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                                                        DEDUCTING ANY
                                                                                                                       E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                  EXEMPTION




                                                                        1. Cash on hand.                               X
                                                                        2. Checking, savings or other financial             First Bank De PR                                                                               J                               44.00
                                                                           accounts, certificates of deposit or             Checking Account #:x6330
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                 Household Goods and Furnishings                                                                J                           4,000.00
                                                                           include audio, video, and computer
                                                                           equipment.
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                 Clothes and personal effects                                                                   J                             800.00
                                                                        7. Furs and jewelry.                                Jewelry                                                                                        J                             100.00
                                                                        8. Firearms and sports, photographic,          X
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(s). 11
                                                                          U.S.C. § 521(c).)
                                                                      12. Interests in IRA, ERISA, Keogh, or           X
                                                                          other pension or profit sharing plans.
                                                                          Give particulars.
                                                                      13. Stock and interests in incorporated          X
                                                                          and unincorporated businesses.
                                                                          Itemize.
                                                                      14. Interests in partnerships or joint           X
                                                                          ventures. Itemize.
                                                                             Case:15-06252-ESL13
                                                                     B6B (Official Form 6B) (12/07) - Cont.              Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                        Desc: Main
                                                                                                                               Document Page 27 of 52
                                                                     IN RE MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                                                 Case No.
                                                                                                                             Debtor(s)                                                                        (If known)

                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                 (Continuation Sheet)




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                      CURRENT VALUE OF
                                                                                                                     N                                                                                               DEBTOR'S INTEREST IN
                                                                                                                     O                                                                                                PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                        DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                                                  DEDUCTING ANY
                                                                                                                     E                                                                                                SECURED CLAIM OR
                                                                                                                                                                                                                          EXEMPTION




                                                                      15. Government and corporate bonds and         X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                       X
                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owed to debtor      X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule A - Real Property.
                                                                      20. Contingent and noncontingent                    Joint debtor has 1/9th of inheritance interest in a residential   W                                  5,556.00
                                                                          interests in estate of a decedent, death        property owned by Sucn. Manuel Cortes Vega and Sucn. Lucia
                                                                          benefit plan, life insurance policy, or         Torres Soltren. Property is located at Jose De Diego 16 Building,
                                                                          trust.                                          Apt. 16 in Aguadilla, Puerto Rico. This property consists of four
                                                                                                                          (4) bedrooms, one (1) bathroom, kitchen, living room, dining
                                                                                                                          room and balcony
                                                                                                                          Value: $50,000/9=$5,556
                                                                      21. Other contingent and unliquidated          X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations       X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) provided to the debtor by
                                                                          individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and              2004 Toyota Corolla                                                      J                                1.00
                                                                          other vehicles and accessories.                 Vin #: 2T1BR32E04C204513
                                                                                                                          Mileage: 129,117
                                                                                                                          Debtors have only "bare title" to this motor vehicle since the
                                                                                                                          same was transferred to and is in possession of, a 3rd party
                                                                                                                          (debtors' daughter).
                                                                                                                          2005 Toyota Sienna                                                    W                                   1.00
                                                                                                                          Vin #: 5TDZA23C45S363153
                                                                                                                          Mileage: 88,719
                                                                                                                          Debtors have only "bare title" to this motor vehicle since the
                                                                                                                          same was transferred to and is in possession of, a 3rd party
                                                                                                                          (debtors' daughter).
                                                                             Case:15-06252-ESL13
                                                                     B6B (Official Form 6B) (12/07) - Cont.         Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                              Desc: Main
                                                                                                                          Document Page 28 of 52
                                                                     IN RE MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                                         Case No.
                                                                                                                       Debtor(s)                                                                               (If known)

                                                                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                                                            (Continuation Sheet)




                                                                                                                                                                                              HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                 OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                N                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                O                                                                                                      PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                 DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                N                                                                                                        DEDUCTING ANY
                                                                                                                E                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION




                                                                      26. Boats, motors, and accessories.       X
                                                                      27. Aircraft and accessories.             X
                                                                      28. Office equipment, furnishings, and    X
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and   X
                                                                          supplies used in business.
                                                                      30. Inventory.                            X
                                                                      31. Animals.                              X
                                                                      32. Crops - growing or harvested. Give    X
                                                                          particulars.
                                                                      33. Farming equipment and implements.     X
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                      34. Farm supplies, chemicals, and feed.   X
                                                                      35. Other personal property of any kind   X
                                                                          not already listed. Itemize.




                                                                                                                                                                                         TOTAL                                10,502.00
                                                                                                                                                                    (Include amounts from any continuation sheets attached.
                                                                             0 continuation sheets attached                                                                    Report total also on Summary of Schedules.)
                                                                            Case:15-06252-ESL13
                                                                     B6C (Official Form 6C) (04/13)                     Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                        Desc: Main
                                                                                                                              Document Page 29 of 52
                                                                     IN RE MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                                                     Case No.
                                                                                                                               Debtor(s)                                                                          (If known)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $155,675. *
                                                                     (Check one box)

                                                                        ü11 U.S.C. § 522(b)(2)
                                                                         11 U.S.C. § 522(b)(3)

                                                                                                                                                                                                                      CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED           OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION            WITHOUT DEDUCTING
                                                                                                                                                                                                                       EXEMPTIONS

                                                                     SCHEDULE A - REAL PROPERTY
                                                                     Debtors own a residential property located 11 USC § 522(d)(1)                                                                  43,250.00              107,000.00
                                                                     at 71 Rafael Cordero St. in Caguas, Puerto
                                                                     Rico. This property consists of six (6)
                                                                     bedrooms, two (2) bathrooms, living room,
                                                                     dining room, kitchen and garage.
                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     First Bank De PR                                             11 USC § 522(d)(5)                                                      44.00                     44.00
                                                                     Checking Account #:x6330
                                                                     Household Goods and Furnishings                              11 USC § 522(d)(3)                                                  4,000.00                 4,000.00
                                                                     Clothes and personal effects                                 11 USC § 522(d)(3)                                                    800.00                     800.00
                                                                     Jewelry                                                      11 USC § 522(d)(4)                                                    100.00                     100.00
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     Joint debtor has 1/9th of inheritance       11 USC § 522(d)(5)                                                                   3,002.00                 5,556.00
                                                                     interest in a residential property owned by
                                                                     Sucn. Manuel Cortes Vega and Sucn. Lucia
                                                                     Torres Soltren. Property is located at Jose
                                                                     De Diego 16 Building, Apt. 16 in Aguadilla,
                                                                     Puerto Rico. This property consists of four
                                                                     (4) bedrooms, one (1) bathroom, kitchen,
                                                                     living room, dining room and balcony
                                                                     Value: $50,000/9=$5,556




                                                                     * Amount subject to adjustment on 4/1/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            Case:15-06252-ESL13
                                                                     B6D (Official Form 6D) (12/07)                      Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                                                                 Desc: Main
                                                                                                                               Document Page 30 of 52
                                                                     IN RE MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                                                                                Case No.
                                                                                                                                  Debtor(s)                                                                                                                                     (If known)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                    UNLIQUIDATED
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                                                                                                                                                 AMOUNT OF
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                   DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                         UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                       PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                                PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                                COLLATERAL




                                                                     ACCOUNT NO. 9908                                                                              MORTGAGE ACCOUNT OPENED 8/2004                                                                   57,265.00
                                                                                                                                                                   Mortgage lien on residential real property
                                                                     Banco Popular De PR                                                                           located at 71 Rafael Cordero in Caguas, PR
                                                                     PO Box 364445
                                                                     San Juan, PR 00936-4445

                                                                                                                                                                   VALUE $ 107,000.00

                                                                     ACCOUNT NO. 3001                                                            J Property taxes 18 Monseñor Berrios                                                                                 1,391.32
                                                                     CRIM                                                                          Caguas PR
                                                                     PO BOX 195387
                                                                     SAN JUAN, PR 00919-5387

                                                                                                                                                                   VALUE $ 175,000.00

                                                                     ACCOUNT NO. 7001                                                            J 2014-15                                                                                                               615.10
                                                                     CRIM
                                                                     PO Box 195387
                                                                     San Juan, PR 00919-5387

                                                                                                                                                                   VALUE $ 150,000.00

                                                                     ACCOUNT NO. 8918                                                            J                                                                                                                       225.86
                                                                     Department of Treasury
                                                                     Bankruptcy Section
                                                                     PO Box 9024140
                                                                     San Juan, PR 00902-4140
                                                                                                                                                                   VALUE $ 107,000.00
                                                                                                                                                                                                                        Subtotal
                                                                            1 continuation sheets attached                                                                                                  (Total of this page) $                                  59,497.28 $
                                                                                                                                                                                                                          Total
                                                                                                                                                                                                        (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                              (Report also on         (If applicable, report
                                                                                                                                                                                                                                                              Summary of              also on Statistical
                                                                                                                                                                                                                                                              Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                      Liabilities and Related
                                                                                                                                                                                                                                                                                      Data.)
                                                                            Case:15-06252-ESL13
                                                                     B6D (Official Form 6D) (12/07) - Cont.            Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                                                                             Desc: Main
                                                                                                                             Document Page 31 of 52
                                                                     IN RE MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                                                                                       Case No.
                                                                                                                               Debtor(s)                                                                                                                                                  (If known)

                                                                                                         SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                         (Continuation Sheet)




                                                                                                                                        HUSBAND, WIFE, JOINT,
                                                                                                                                           OR COMMUNITY




                                                                                                                                                                                                                                              UNLIQUIDATED
                                                                                                                                                                                                                                 CONTINGENT
                                                                                                                                                                                                                                                                           AMOUNT OF




                                                                                                                             CODEBTOR




                                                                                                                                                                                                                                                             DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                            DATE CLAIM WAS INCURRED,                                                                    CLAIM WITHOUT
                                                                                                                                                                                                                                                                                                   UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                  NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                                           DEDUCTING
                                                                                                                                                                                                                                                                                                 PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                              PROPERTY SUBJECT TO LIEN                                                                      VALUE OF
                                                                                                                                                                                                                                                                          COLLATERAL




                                                                     ACCOUNT NO. 7339                                                         J                 INSTALLMENT ACCOUNT OPENED 9/2005                                                                           130,697.00
                                                                                                                                                                Mortgage lien on residential real property located at 18
                                                                                                                                                                Monsenor Berrios in Caguas, PR; Accumulated pre-petition
                                                                     Scotiabank De Puerto Rico                                                                  arrears are estimated in the sum of $74,446; Principal balance
                                                                     SPECIAL LOANS                                                                              $130,697
                                                                     PO Box 9023905
                                                                     San Juan, PR 00902-3905
                                                                                                                                                                VALUE $ 175,000.00

                                                                     ACCOUNT NO.                                                                                Assignee or other notification for:
                                                                     FERNANDEZ COLLINS CUYAR PLA                                                                Scotiabank De Puerto Rico
                                                                     500 TANCA STREET
                                                                     OCHOA BLD SUITE 201
                                                                     SAN JUAN, PR 00901
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                VALUE $

                                                                     ACCOUNT NO. 9870                                                                           INSTALLMENT ACCOUNT OPENED 4/2006                                                                             71,219.00
                                                                                                                                                                Mortgage lien on residential real property located at 4
                                                                     Scotiabank De Puerto Rico                                                                  Ponce De Leon in Caguas, PR; Accumulated pre-
                                                                     Special Loans                                                                              petition arrears $83,476;
                                                                     PO Box 9023905
                                                                     San Juan, PR 00902-3905
                                                                                                                                                                VALUE $ 150,000.00

                                                                     ACCOUNT NO.                                                                                Assignee or other notification for:
                                                                     FERNANDEZ COLLINS CUYAR PLA                                                                Scotiabank De Puerto Rico
                                                                     500 TANCA STREET
                                                                     OCHOA BLD SUITE 201
                                                                     SAN JUAN, PR 00901
                                                                                                                                                                VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                VALUE $
                                                                     Sheet no.       1 of        1 continuation sheets attached to                                                                                            Subtotal
                                                                     Schedule of Creditors Holding Secured Claims                                                                                                 (Total of this page) $ 201,916.00 $
                                                                                                                                                                                                                                Total
                                                                                                                                                                                                              (Use only on last page) $ 261,413.28 $
                                                                                                                                                                                                                                                                        (Report also on         (If applicable, report
                                                                                                                                                                                                                                                                        Summary of              also on Statistical
                                                                                                                                                                                                                                                                        Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                                Liabilities and Related
                                                                                                                                                                                                                                                                                                Data.)
                                                                             Case:15-06252-ESL13
                                                                     B6E (Official Form 6E) (04/13)                       Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                 Desc: Main
                                                                                                                                Document Page 32 of 52
                                                                     IN RE MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                                                              Case No.
                                                                                                                                 Debtor(s)                                                                                   (If known)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                     sheet for each type of priority and label each with the type of priority.

                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                     "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                     may need to place an "X" in more than one of these three columns.)

                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
                                                                     on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
                                                                     Statistical Summary of Certain Liabilities and Related Data.

                                                                        Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                     listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
                                                                     the Statistical Summary of Certain Liabilities and Related Data.
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                          Domestic Support Obligations
                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).
                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                     ü Taxes  and Certain Other Debts Owed to Governmental Units
                                                                       Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).

                                                                          * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                            1 continuation sheets attached
                                                                             Case:15-06252-ESL13
                                                                     B6E (Official Form 6E) (04/13) - Cont.             Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                                                                             Desc: Main
                                                                                                                              Document Page 33 of 52
                                                                     IN RE MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                                                                                                                              Case No.
                                                                                                                                                    Debtor(s)                                                                                                                         (If known)

                                                                                              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   (Continuation Sheet)

                                                                                                            Taxes and Other Certain Debts Owed to Governmental Units
                                                                                                                                                               (Type of Priority for Claims Listed on This Sheet)




                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                      OR COMMUNITY




                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                                                                                                   AMOUNT




                                                                                                                                                                                                                    CONTINGENT
                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                                DISPUTED
                                                                                                                                                                                                                                                                                AMOUNT                NOT
                                                                           CREDITOR'S NAME, MAILING ADDRESS                                                                                                                                                     AMOUNT
                                                                                                                                                                 DATE CLAIM WAS INCURRED                                                                                        ENTITLED           ENTITLED
                                                                        INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                                                                                                                     OF
                                                                                                                                                               AND CONSIDERATION FOR CLAIM                                                                                         TO                  TO
                                                                                   (See Instructions above.)                                                                                                                                                     CLAIM
                                                                                                                                                                                                                                                                                PRIORITY           PRIORITY,
                                                                                                                                                                                                                                                                                                    IF ANY




                                                                     ACCOUNT NO. 8918                                                    J 2013, 2012, 2011 & 2009 1040PR
                                                                     INTERNAL REVENUE SERVICE
                                                                     BOX 21126
                                                                     PHILADELPHIA, PA 19114-0326

                                                                                                                                                                                                                                                                 2,187.41        1,079.93            1,107.48
                                                                                                                                                           Assignee or other notification
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     ACCOUNT NO.
                                                                     INTERNAL REVENUE SERVICE                                                              for:
                                                                     BOX 80110                                                                             INTERNAL REVENUE SERVICE
                                                                     Cincinnati, OH 45280-0110



                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       1 of        1 continuation sheets attached to                                                                           Subtotal
                                                                     Schedule of Creditors Holding Unsecured Priority Claims                                                                    (Totals of this page)                                      $     2,187.41 $      1,079.93 $          1,107.48
                                                                                                                                                                           Total
                                                                                    (Use only on last page of the completed Schedule E. Report also on the Summary of Schedules.) $                                                                              2,187.41
                                                                                                                                                                                 Total
                                                                                                                   (Use only on last page of the completed Schedule E. If applicable,
                                                                                                      report also on the Statistical Summary of Certain Liabilities and Related Data.)                                                                                      $    1,079.93 $          1,107.48
                                                                             Case:15-06252-ESL13
                                                                     B6F (Official Form 6F) (12/07)                      Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                           Desc: Main
                                                                                                                               Document Page 34 of 52
                                                                     IN RE MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                                                                          Case No.
                                                                                                                                 Debtor(s)                                                                                                      (If known)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                     listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                     OR COMMUNITY




                                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                               DISPUTED
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED AND                                                              AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                         CONSIDERATION FOR CLAIM. IF CLAIM IS                                                         OF
                                                                                          (See Instructions Above.)                                                                SUBJECT TO SETOFF, SO STATE                                                             CLAIM
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     ACCOUNT NO. 1189                                                                   J
                                                                     AAA
                                                                     PO Box 70101
                                                                     San Juan, PR 00936-8101

                                                                                                                                                                                                                                                                           1,095.73
                                                                     ACCOUNT NO. 5234                                                                  H INSTALLMENT ACCOUNT OPENED 6/2009
                                                                     Banco Santander PR                                                                  Personal Loan
                                                                     PO Box 362589
                                                                     San Juan, PR 00936-2589

                                                                                                                                                                                                                                                                           9,044.00
                                                                     ACCOUNT NO. 0809                                                                  H INSTALLMENT ACCOUNT OPENED 2/2008
                                                                     Citifinancial Plus                                                                  Personal Loan
                                                                     PO Box 499
                                                                     Hanover, MD 21076

                                                                                                                                                                                                                                                                           9,138.00
                                                                     ACCOUNT NO. 0801                                                                W INSTALLMENT ACCOUNT OPENED 4/2008
                                                                     Citifinancial Plus                                                                Personsl Loan
                                                                     300 Saint Paul Pl
                                                                     Baltimore, MD 21202

                                                                                                                                                                                                                                                                           8,323.00
                                                                                                                                                                                                                                    Subtotal
                                                                            1 continuation sheets attached                                                                                                              (Total of this page) $                            27,600.73
                                                                                                                                                                                                                                       Total
                                                                                                                                                                          (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                              the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                           Summary of Certain Liabilities and Related Data.) $
                                                                             Case:15-06252-ESL13
                                                                     B6F (Official Form 6F) (12/07) - Cont.            Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                                  Desc: Main
                                                                                                                             Document Page 35 of 52
                                                                     IN RE MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                                                                               Case No.
                                                                                                                              Debtor(s)                                                                                                              (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                                                                                        CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                    DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                              AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                         OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                             CLAIM




                                                                     ACCOUNT NO. 3326                                                              W OPEN ACCOUNT OPENED 2/2008
                                                                     Claro                                                                           Cellular Bill Arrears
                                                                     PO Box 360998
                                                                     San Juan, PR 00936

                                                                                                                                                                                                                                                                                  510.00
                                                                     ACCOUNT NO. 2761                                                                H OPEN ACCOUNT OPENED 2/2012
                                                                     Claro                                                                             Cellular Bill Arrears
                                                                     PO Box 360998
                                                                     San Juan, PR 00936
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                                                                                                                                                                                                                  229.00
                                                                     ACCOUNT NO. 5261                                                                H INSTALLMENT ACCOUNT OPENED 3/2007
                                                                     Reliable Financial Services                                                       Auto deficiency Toyota Yaris 2006
                                                                     PO Box 21382
                                                                     San Juan, PR 00928

                                                                                                                                                                                                                                                                                6,016.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Julio R Calderin                                                                                   Reliable Financial Services
                                                                     Re Contract #: 584-635261 Reliable
                                                                     PO Box 21382
                                                                     San Juan, PR 00928-1382

                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       1 of        1 continuation sheets attached to                                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             6,755.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $                            34,355.73
                                                                            Case:15-06252-ESL13
                                                                     B6G (Official Form 6G) (12/07)                       Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                Desc: Main
                                                                                                                                Document Page 36 of 52
                                                                     IN RE MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                                                              Case No.
                                                                                                                                 Debtor(s)                                                                                  (If known)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                                                                     contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                     lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                     such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                         STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                           STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.

                                                                     Cinthia Vazquez                                                                          Bussiness Lease/18 Monseñor Berrios St., Caguas (Down)
                                                                     18 Monseñor Berrios St.,                                                                 Rent: $350/mo.
                                                                     Caguas, PR 00725
                                                                     Cristal Molina                                                                           Residential Lease/18 Monseñor Berrios St., Caguas (Down)
                                                                     18 Monseñor Berrios Street (Down)                                                        Rent: $350./month
                                                                     Caguas, PR 00725
                                                                     Miguel Santos                                                                            Residential Lease/18 Monseñor Berrios St., Caguas (higher)
                                                                     18 Monseñor Berrios Street (higher)                                                      Rent: $375./month
                                                                     Caguas, PR 00725
                                                                     Arpa Torres                                                                              Residential Lease/4 Ponce De Leon St., Caguas (Down)
                                                                     4 Ponce De Leon Street                                                                   Rent: $400./month
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     Caguas, PR 00725
                                                                     Misael Hernandez                                                                         Residential Lease/4 Ponce De Leon St., Caguas (Down)
                                                                     4 Ponce De Leon Street                                                                   Rent: $400.00/month
                                                                     Caguas, PR 00725
                                                                     Pedro De Jesus Colon                                                                     Residential Lease/4 Ponce De Leon St., Caguas (higher)
                                                                     4 Calle Ponce De Leon                                                                    Rent: $375./month
                                                                     Caguas, PR 00725-4231
                                                                     Gustavo Marrero                                                                          Studio Lease/4 Ponce De Leon St., Caguas (higher)
                                                                     4 Calle Ponce De Leon                                                                    Rent: $325,/month
                                                                     Caguas, PR 00725-4231
                                                                     Rene Bernier                                                                             Studio Lease/4 Ponce De Leon St., Caguas (higher)
                                                                     4 Calle Ponce De Leon                                                                    Rent: $325./month
                                                                     Caguas, PR 00725-4231
                                                                            Case:15-06252-ESL13
                                                                     B6H (Official Form 6H) (12/07)                       Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                  Desc: Main
                                                                                                                                Document Page 37 of 52
                                                                     IN RE MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                                                               Case No.
                                                                                                                                  Debtor(s)                                                                                   (If known)

                                                                                                                                     SCHEDULE H - CODEBTORS
                                                                        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                     of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                     name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                     üCheck this box if debtor has no codebtors.
                                                                                                NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only
                                                                                  Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                               Desc: Main
                                                                                                            Document Page 38 of 52
                                                                      Fill in this information to identify your case:


                                                                      Debtor 1          RAFAEL
                                                                                        ___          MARTINEZ
                                                                                            ____ _____              FUENTES
                                                                                                       _______ ____ _____ ______ ____ _____ _______ ____ ______ ____ ____
                                                                                          F irst Name                Middle Name                Last Name

                                                                      Debtor 2            LUZ
                                                                                          ___   ESTRELLA
                                                                                              ____ _____ _______CORTES      TORRES
                                                                                                                 ____ _____ ______ _________ _______ ____ _____ _____ __
                                                                      (Spouse, if filing) F irst Name                Middle Name                Last Name


                                                                      United States Bankruptcy Court for the: District of Puerto Rico

                                                                      Case num ber        ___ ____ _____ ______ _____ _____ ______ ____ _____                                      Check if this is:
                                                                          (If known)
                                                                                                                                                                                       An amended filing
                                                                                                                                                                                       A supplement showing post-petition
                                                                                                                                                                                       chapter 13 income as of the following date:
                                                                                                                                                                                       ________________
                                                                     Official Form 6I                                                                                                  MM / DD / YYYY


                                                                     Schedule I: Your Income                                                                                                                                           12/13
                                                                     Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                     supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                     If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                     separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                      Part 1:           Describe Employment
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     1.    Fill in your employment
                                                                           information.                                                               Debtor 1                                         Debtor 2 or non-filing spouse

                                                                            If you have more than one job,
                                                                            attach a separate page with
                                                                            information about additional          Employment status                    Employed                                           Employed
                                                                            employers.                                                             üNot employed                                       ü Not employed
                                                                            Include part-time, seasonal, or
                                                                            self-employed work.
                                                                                                                  Occupation                     __________________________________                __________________________________
                                                                            Occupation may Include student
                                                                            or homemaker, if it applies.
                                                                                                                  Employer’s name                __________________________________                __________________________________


                                                                                                                  Employer’s address            __ ____ _______ _____ ____ _____ ______ ____ __   ___ _______ ____ _____ ____ ______ _____ ______
                                                                                                                                                  Number Street                                     Number     Street

                                                                                                                                                __ ____ _____ ___________ _____ ______ ____ __    ___ _______ __ ______ _____ _______ ____ _____ _

                                                                                                                                                ____ _____ ____ _______ ____ _____ ______ ____    _____ _____ _____ ______ ____ _____ ______ ____


                                                                                                                                                __ ____ _____ ___________ _____ ______ ____ __    _____ _____ ______ _____ ____ _____ ______ ____
                                                                                                                                                  Cit y             State   ZIP Code                City                    State ZIP Code

                                                                                                                  How long employed there?             _______                                      _______

                                                                      Part 2:           Give Details About Monthly Income

                                                                            Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                            spouse unless you are separated.
                                                                            If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                            below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                              For Debtor 1          For Debtor 2 or
                                                                                                                                                                                                    non-filing spouse
                                                                      2.     List monthly gross wages, salary, and commissions (before all payroll
                                                                             deductions). If not paid monthly, calculate what the monthly wage would be.             2.
                                                                                                                                                                                   0.00
                                                                                                                                                                             $___________                     0.00
                                                                                                                                                                                                       $____________

                                                                      3.     Estimate and list monthly overtime pay.                                                 3.     + $___________
                                                                                                                                                                                   0.00            +          0.00
                                                                                                                                                                                                       $____________


                                                                      4.     Calculate gross income. Add line 2 + line 3.                                            4.           0.00
                                                                                                                                                                             $__________                      0.00
                                                                                                                                                                                                       $____________



                                                                     Official Form 6I                                                       Schedule I: Your Income                                                                page 1
                                                                                 Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                                                       Desc: Main
                                                                                                           Document Page 39 of 52
                                                                     Debtor 1             RAFAEL
                                                                                         ___          MARTINEZ
                                                                                             _______ ____ _____ ______FUENTES
                                                                                                                       _____ ____ _______ ____ _____ _____                                         Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                         First Name          Middle Name                Last Name



                                                                                                                                                                                                  For Debtor 1            For Debtor 2 or
                                                                                                                                                                                                                          non-filing spouse

                                                                           Copy line 4 here ............................................................................................   4.             0.00
                                                                                                                                                                                                   $___________                      0.00
                                                                                                                                                                                                                              $_____________

                                                                     5.    List all payroll deductions:

                                                                            5a. Tax, Medicare, and Social Security deductions                                                              5a.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            5b. Mandatory contributions for retirement plans                                                               5b.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            5c. Voluntary contributions for retirement plans                                                               5c.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            5d. Required repayments of retirement fund loans                                                               5d.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            5e. Insurance                                                                                                  5e.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            5f. Domestic support obligations                                                                               5f.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________

                                                                            5g. Union dues                                                                                                 5g.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________

                                                                            5h. Other deductions. Specify: __________________________________                                              5h.   + $____________
                                                                                                                                                                                                           0.00          +          0.00
                                                                                                                                                                                                                             $_____________

                                                                      6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.             0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________

                                                                      7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________


                                                                           List all other income regularly received:
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                      8.

                                                                            8a. Net income from rental property and from operating a business,
                                                                                profession, or farm
                                                                                Attach a statement for each property and business showing gross
                                                                                receipts, ordinary and necessary business expenses, and the total
                                                                                                                                                                                                       2,900.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                                monthly net income.                                                                                        8a.
                                                                             8b. Interest and dividends                                                                                    8b.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            8c. Family support payments that you, a non-filing spouse, or a dependent
                                                                                regularly receive
                                                                                Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                                settlement, and property settlement.                                  8c.
                                                                            8d. Unemployment compensation                                                                                  8d.           0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                            8e. Social Security                                                                                            8e.          313.50
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                             8f. Other government assistance that you regularly receive
                                                                                 Include cash assistance and the value (if known) of any non-cash assistance
                                                                                 that you receive, such as food stamps (benefits under the Supplemental                                                   0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________
                                                                                 Nutrition Assistance Program) or housing subsidies.
                                                                                 Specify: ___________________________________________________ 8f.

                                                                             8g. Pension or retirement income                                                                              8g.            0.00
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________

                                                                             8h. Other monthly income. Specify: _______________________________                                            8h.   + $____________
                                                                                                                                                                                                           0.00            + $_____________
                                                                                                                                                                                                                                    0.00
                                                                      9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.          3,213.50
                                                                                                                                                                                                  $____________                     0.00
                                                                                                                                                                                                                             $_____________

                                                                     10. Calculate  monthly income. Add line 7 + line 9.
                                                                           Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.
                                                                                                                                                                                                      3,213.50
                                                                                                                                                                                                  $___________       +                0.00 = $_____________
                                                                                                                                                                                                                              $_____________      3,213.50

                                                                     11.   State all other regular contributions to the expenses that you list in Schedule J.
                                                                           Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
                                                                           other friends or relatives.
                                                                           Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
                                                                           Specify: _______________________________________________________________________________                                                                            11. + $_____________
                                                                                                                                                                                                                                                             0.00
                                                                     12.   Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                           Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                        12.        3,213.50
                                                                                                                                                                                                                                                       $_____________
                                                                                                                                                                                                                                                       Combined
                                                                                                                                                                                                                                                       monthly income
                                                                      13. Do     you expect an increase or decrease within the year after you file this form?
                                                                                 No.
                                                                             ü   Yes. Explain:
                                                                                                Yes, debtor will increase her/his income in month 6.



                                                                       Official Form 6I                                                                      Schedule I: Your Income                                                                       page 2
                                                                                   Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                               Desc: Main
                                                                                                             Document Page 40 of 52
                                                                          Fill in this information to identify your case:

                                                                          Debtor 1           RAFAEL
                                                                                            ___           MARTINEZ
                                                                                                _______ ____              FUENTES
                                                                                                             _____ ____ _____ ______ ____ _______ _____ ____ _______ ____ _
                                                                                             First Name                  Middle Name                Last Name                       Check if this is:
                                                                          Debtor 2           LUZ
                                                                                             ___   ESTRELLA
                                                                                                 ____ _____ _______CORTES      TORRES
                                                                                                                    ____ _____ ______ _______ ____ _____ ____ _______ ___
                                                                                                                                                                                        An amended filing
                                                                          (Spouse, if filing) First Name                 Middle Name                Last Name
                                                                                                                                                                                        A supplement showing post-petition chapter 13
                                                                          United Sta tes Bankruptcy Court for th e: District of Puerto Rico                                             expenses as of the following date:
                                                                                                                                                                                        ________________
                                                                          Case num ber       ___ ____ _____ ______ _____ _____ ______ _______ __                                        MM / DD / YYYY
                                                                           (If known)
                                                                                                                                                                                        A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                        maintains a separate household
                                                                     Official Form 6J
                                                                     Schedule J: Your Expenses                                                                                                                                      12/13

                                                                     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                     information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
                                                                     (if known). Answer every question.

                                                                      Part 1:               Describe Your Household

                                                                     1.    Is this a joint case?

                                                                                No. Go to line 2.
                                                                           ü Yes. Does Debtor 2 live in a separate household?
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                                  üNo
                                                                                             Yes. Debtor 2 must file a separate Schedule J.

                                                                     2.    Do you have dependents?                     ü No                                     Dependent’s relations hip to              De pendent’s   Does d epe ndent live
                                                                           Do not list Debtor 1 and                        Yes. Fill out this information for Debtor 1 or Debtor 2                        age            with you?
                                                                           Debtor 2.                                       each dependent..........................
                                                                                                                                                                                                                             No
                                                                           Do not state the dependents’                                                         _________________________                 ________
                                                                           names.                                                                                                                                            Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                     3.    Do your expenses include
                                                                           expenses of people other than
                                                                                                                       ü No
                                                                           yourself and your dependents?                   Yes

                                                                     Part 2:            Estimate Your Ongoing Monthly Expenses

                                                                     Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                     expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                     applicable date.
                                                                     Include expenses paid for with non-cash government assistance if you know the value of
                                                                     such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                                     Your expenses

                                                                      4.     The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                             any rent for the ground or lot.                                                                                        4.
                                                                                                                                                                                                                   537.25
                                                                                                                                                                                                            $_____________________

                                                                             If not included in line 4:
                                                                             4a.    Real estate taxes                                                                                               4a.             0.00
                                                                                                                                                                                                            $_____________________
                                                                             4b.    Property, homeowner’s, or renter’s insurance                                                                    4b.             0.00
                                                                                                                                                                                                            $_____________________
                                                                             4c.    Home maintenance, repair, and upkeep expenses                                                                   4c.            100.00
                                                                                                                                                                                                            $_____________________

                                                                             4d.    Homeowner’s association or condominium dues                                                                     4d.             0.00
                                                                                                                                                                                                            $_____________________

                                                                          Official Form 6J                                                    Schedule J: Your Expenses                                                         page 1
                                                                                     Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                     Desc: Main
                                                                                                               Document Page 41 of 52
                                                                      Debtor 1            RAFAEL
                                                                                          ___          MARTINEZ
                                                                                              _______ ____            FUENTES
                                                                                                           _____ ______ _____ ____ _______ ____ _____ _____          Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                          First Name     Middle Name         Last Name




                                                                                                                                                                                                     Your expenses

                                                                                                                                                                                                    $_____________________
                                                                                                                                                                                                            0.00
                                                                      5.    Additional mortgage payments for your residence, such as home equity loans                                      5.


                                                                      6.    Utilities:
                                                                             6a.     Electricity, heat, natural gas                                                                         6a.            409.77
                                                                                                                                                                                                    $_____________________
                                                                             6b.     Water, sewer, garbage collection                                                                       6b.            125.00
                                                                                                                                                                                                    $_____________________
                                                                             6c.     Telephone, cell phone, Internet, satellite, and cable services                                         6c.            94.00
                                                                                                                                                                                                    $_____________________

                                                                             6d.                     Gas $380/12 ________________________________
                                                                                     Other. Specify: _______________                                                                        6d.            31.67
                                                                                                                                                                                                    $_____________________

                                                                      7.    Food and housekeeping supplies                                                                                  7.             350.00
                                                                                                                                                                                                    $_____________________

                                                                      8.    Childcare and children’s education costs                                                                        8.              0.00
                                                                                                                                                                                                    $_____________________
                                                                      9.    Clothing, laundry, and dry cleaning                                                                             9.             25.00
                                                                                                                                                                                                    $_____________________
                                                                     10.    Personal care products and services                                                                             10.            50.00
                                                                                                                                                                                                    $_____________________
                                                                     11.    Medical and dental expenses                                                                                     11.            30.00
                                                                                                                                                                                                    $_____________________

                                                                     12.    Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                                                                                           85.00
                                                                                                                                                                                                    $_____________________
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                            Do not include car payments.                                                                                    12.

                                                                     13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.            30.00
                                                                                                                                                                                                    $_____________________
                                                                     14.     Charitable contributions and religious donations                                                               14.             0.00
                                                                                                                                                                                                    $_____________________

                                                                     15.     Insurance.
                                                                             Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                             15a .   Life insurance                                                                                         15a .           0.00
                                                                                                                                                                                                    $_____________________
                                                                             15b .   Health insurance                                                                                       15b .          126.20
                                                                                                                                                                                                    $_____________________
                                                                             15c.    Vehicle insurance                                                                                      15c.            0.00
                                                                                                                                                                                                    $_____________________
                                                                             15d .   Other insurance. Specify:_______________________________________                                       15d .           0.00
                                                                                                                                                                                                    $_____________________

                                                                     16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                                                                                           23.17
                                                                                                                                                                                                    $_____________________
                                                                                       MUNICIPALITY PATENTE
                                                                             Specify: ______________________________________
                                                                                                                           __________________                                               16.


                                                                     17.    Installment or lease payments:

                                                                             17a .   Car payments for Vehicle 1                                                                             17a.            0.00
                                                                                                                                                                                                    $_____________________

                                                                             17b .   Car payments for Vehicle 2                                                                             17b .           0.00
                                                                                                                                                                                                    $_____________________

                                                                             17 c.   Other. Specify:_________________________________
                                                                                                                                    ______________                                          17c.            0.00
                                                                                                                                                                                                    $_____________________

                                                                             17 d.   Other. Specify:_________________________________
                                                                                                                                    ______________                                          17d .           0.00
                                                                                                                                                                                                    $_____________________

                                                                     18.    Your payments of alimony, maintenance, and support that you did not report as deducted from                                     0.00
                                                                                                                                                                                                    $_____________________
                                                                            your pay on line 5, Schedule I, Your Income (Official Form 6I).                                                  18.


                                                                     19.    Other payments you make to support others who do not live with you.                                                             0.00
                                                                                                                                                                                                    $_____________________
                                                                            Specify:_______________________________________________________                                                  19.

                                                                     20.    Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

                                                                             20a .   Mortgages on other property                                                                           20 a.           830.44
                                                                                                                                                                                                    $_____________________

                                                                             20b .   Real estate taxes                                                                                     20b .            0.00
                                                                                                                                                                                                    $_____________________

                                                                             20c.    Property, homeowner’s, or renter’s insurance                                                          20c.             0.00
                                                                                                                                                                                                    $_____________________

                                                                             20d .   Maintenance, repair, and upkeep expenses                                                              20d .            0.00
                                                                                                                                                                                                    $_____________________

                                                                             20e .   Homeowner’s association or condominium dues                                                           20e .            0.00
                                                                                                                                                                                                    $_____________________



                                                                           Official Form 6J                                              Schedule J: Your Expenses                                                           page 2
                                                                     0.00
                                                                                   Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                       Desc: Main
                                                                                                             Document Page 42 of 52
                                                                       Debtor 1          RAFAEL
                                                                                        ___          MARTINEZ
                                                                                            _______ ____ _____ ______FUENTES
                                                                                                                      _____ ____ _______ ____ _____ _____            Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                        First Name     Middle Name         Last Name




                                                                      21.     Other. Specify: ________________________________
                                                                                              See Schedule Attached           _________________                                            21 .   +$_____________________
                                                                                                                                                                                                          81.00

                                                                      22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                                                                                                         2,928.50
                                                                                                                                                                                                    $_____________________
                                                                             The result is your monthly expenses.                                                                          22 .




                                                                      23.   Calculate your monthly net income.
                                                                                                                                                                                                          3,213.50
                                                                                                                                                                                                     $_____________________
                                                                            23a.   Copy line 12 (your combined monthly income) from Schedule I.                                           23a.

                                                                            23b.   Copy your monthly expenses from line 22 above.                                                         23b .   – $_____________________
                                                                                                                                                                                                          2,928.50

                                                                            23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                                                                                            285.00
                                                                                                                                                                                                     $_____________________
                                                                                   The result is your monthly net income.                                                                 23c.




                                                                      24.    Do you expect an increase or decrease in your expenses within the year after you file this form?

                                                                             For example, do you expect to finish paying for your car loan within the year or do you expect your
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                             mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

                                                                                No.
                                                                            ü Yes.      None




                                                                            Official Form 6J                                           Schedule J: Your Expenses                                                             page 3
                                                                           Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                   Desc: Main
                                                                                                     Document Page 43 of 52
                                                                     IN RE MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                     Case No.
                                                                                                              Debtor(s)

                                                                                       SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                                   Continuation Sheet - Page 1 of 1

                                                                     Other Expenses (DEBTOR)
                                                                     Lunch At Medical Appointments (Debtor)                                                                   25.00
                                                                     Savings And/Or Emergency Funds                                                                           25.00
                                                                     Pets                                                                                                     16.00
                                                                     Beauty (Spouse)                                                                                          15.00
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only
                                                                             Case:15-06252-ESL13
                                                                     B6 Declaration                                 Doc#:1
                                                                                    (Official Form 6 - Declaration) (12/07)          Filed:08/17/15 Entered:08/17/15 11:30:16                                           Desc: Main
                                                                                                                                    Document Page 44 of 52
                                                                     IN RE MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                                                        Case No.
                                                                                                                               Debtor(s)                                                                                    (If known)

                                                                                                             DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      21 sheets, and that they are
                                                                     true and correct to the best of my knowledge, information, and belief.

                                                                     Date: August 17, 2015                                Signature: /s/ RAFAEL MARTINEZ FUENTES
                                                                                                                                                                                                                                                       Debtor
                                                                                                                                       RAFAEL MARTINEZ FUENTES

                                                                     Date: August 17, 2015                                Signature: /s/ LUZ ESTRELLA CORTES TORRES
                                                                                                                                                                                                                                         (Joint Debtor, if any)
                                                                                                                                       LUZ ESTRELLA CORTES TORRES
                                                                                                                                                                                               [If joint case, both spouses must sign.]

                                                                                   DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                           Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                          Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                     knowledge, information, and belief.



                                                                     Date:                                                Signature:


                                                                                                                                                                                                 (Print or type name of individual signing on behalf of debtor)

                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                              Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                             Case:15-06252-ESL13
                                                                     B7 (Official Form 7) (04/13)                    Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                     Desc: Main
                                                                                                                           Document Page 45 of 52
                                                                                                                              United States Bankruptcy Court
                                                                                                                                  District of Puerto Rico

                                                                     IN RE:                                                                                                       Case No.
                                                                     MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                                                       Chapter 13
                                                                                                                      Debtor(s)

                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                     25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                     use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                             DEFINITIONS

                                                                       "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                     for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
                                                                     form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                       "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and their relatives;
                                                                     affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101(2),(31).

                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                             including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                             case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                             maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                             beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                 16,050.00 2015 Income from Rent YTD@
                                                                                 31,800.00 2014 Income from Rent
                                                                                  7,893.00 2013 Income from Business, Rent

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                             two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                  1,881.00 2015 Income from Social Security YTD@
                                                                                        0.00 2014 Income from Social Security
                                                                                  3,634.80 2013 Income from Social Security
                                                                                Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                      Desc: Main
                                                                                                          Document Page 46 of 52
                                                                     3. Payments to creditors
                                                                     Complete a. or b., as appropriate, and c.
                                                                      None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                      ü      debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
                                                                             constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                             a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                      None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                      ü      preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
                                                                             $6,255.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                             obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
                                                                             debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
                                                                             is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                             * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                      None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                      ü      who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                      ü      bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                      ü      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                             the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                                                                      DATE OF REPOSSESSION,
                                                                                                                                      FORECLOSURE SALE,                   DESCRIPTION AND VALUE
                                                                     NAME AND ADDRESS OF CREDITOR OR SELLER                           TRANSFER OR RETURN                  OF PROPERTY
                                                                     Reliable Financial Services                                      5/2009@                             2006 Toyota Yaris
                                                                     Urb. Montehiedra, 9615 Los Romeros Ave.                                                              Value: $6,000.@
                                                                     San Juan, PR 00928

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                      ü      (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)

                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                      ü      gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                              Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                          Desc: Main
                                                                                                        Document Page 47 of 52
                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.
                                                                                                                                       DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                         PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     Roberto Figueroa Carrasquillo, Esq.                               7/7/2015                                                               505.00
                                                                     PO Box 186
                                                                     Caguas, PR 00726-0186
                                                                     CIN Legal Data Services                                           7/9/2015                                                                                53.00
                                                                     4540 Honeywell Ct.
                                                                     Dayton, OH 45424
                                                                     Consumer Credit Counseling                                        5/14/2015                                                                               50.00
                                                                     Caguas, PR 00725

                                                                     10. Other transfers
                                                                      None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                             absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)
                                                                     NAME AND ADDRESS OF TRANSFEREE,                                                                                  DESCRIBE PROPERTY TRANSFERRED
                                                                     RELATIONSHIP TO DEBTOR                                            DATE                                           AND VALUE RECEIVED
                                                                     Yajaira E. Martinez Cortes                                                                                       2005 Toyota Sienna
                                                                     Caguas, PR 00725
                                                                     Daughter
                                                                     Linnette Martinez Cortes                                                                                         2004 Toyota Corolla
                                                                     Caguas, PR 00725
                                                                     Daughter

                                                                      None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
                                                                      ü      device of which the debtor is a beneficiary.

                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                      ü      transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                      ü      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                      ü      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.
                                                                      ü
                                                                              Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                        Desc: Main
                                                                                                        Document Page 48 of 52
                                                                     15. Prior address of debtor
                                                                      None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                      ü      that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                      ü      Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                             identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.

                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                      ü      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                      ü      the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                      ü      is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                             proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                             commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                             preceding the commencement of this case.
                                                                           If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                           of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                           preceding the commencement of this case.
                                                                                                                  LAST FOUR DIGITS
                                                                                                                  OF SOCIAL-
                                                                                                                  SECURITY OR OTHER
                                                                                                                  INDIVIDUAL
                                                                                                                  TAXPAYER-I.D. NO.                                                   NATURE OF            BEGINNING AND
                                                                     NAME                                         (ITIN)/COMPLETE EIN ADDRESS                                         BUSINESS             ENDING DATES
                                                                     d/b/a Colmado Bar La Estrella                                           18 Monseñor Berrios St.                  Sales of food        1988 to 4/30/2014
                                                                                                                                             Caguas, PR 00725                         and drinks.          Ending.
                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.
                                                                      ü
                                                                              Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                          Desc: Main
                                                                                                        Document Page 49 of 52
                                                                     The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been, within
                                                                     six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of more than
                                                                     5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed
                                                                     in a trade, profession, or other activity, either full- or part-time.

                                                                     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within the six
                                                                     years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go directly to the
                                                                     signature page.)

                                                                     19. Books, records and financial statements
                                                                      None   a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or supervised the
                                                                             keeping of books of account and records of the debtor.
                                                                     NAME AND ADDRESS                                                  DATES SERVICES RENDERED
                                                                     Ramon Sanabria                                                    1999 to present.
                                                                     H-28 Villa Turabo Pino Ave
                                                                     Caguas, PR 00725
                                                                      None   b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books of account
                                                                      ü      and records, or prepared a financial statement of the debtor.

                                                                      None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
                                                                      ü      debtor. If any of the books of account and records are not available, explain.

                                                                      None   d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
                                                                      ü      the debtor within the two years immediately preceding the commencement of this case.
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only




                                                                     20. Inventories
                                                                      None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
                                                                             dollar amount and basis of each inventory.
                                                                                                                                                                                   DOLLAR AMOUNT OF INVENTORY
                                                                     DATE OF INVENTORY                                                 INVENTORY SUPERVISOR                        (Specify cost, market, or other basis)
                                                                                                                                       Luz E. Cortes Torres                        Inventory: $5,593.
                                                                      None   b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
                                                                      ü
                                                                     21. Current Partners, Officers, Directors and Shareholders
                                                                      None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
                                                                      ü
                                                                      None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls,
                                                                      ü      or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                     22. Former partners, officers, directors and shareholders
                                                                      None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
                                                                      ü      of this case.

                                                                      None   b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
                                                                      ü      preceding the commencement of this case.

                                                                     23. Withdrawals from a partnership or distributions by a corporation
                                                                      None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
                                                                      ü      bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
                                                                             case.

                                                                     24. Tax Consolidation Group
                                                                      None   If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group for tax
                                                                      ü      purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.
                                                                              Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                                       Desc: Main
                                                                                                        Document Page 50 of 52
                                                                     25. Pension Funds.
                                                                      None   If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an employer,
                                                                      ü      has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

                                                                     [If completed by an individual or individual and spouse]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.



                                                                     Date: August 17, 2015                           Signature /s/ RAFAEL MARTINEZ FUENTES
                                                                                                                     of Debtor                                                             RAFAEL MARTINEZ FUENTES

                                                                     Date: August 17, 2015                           Signature /s/ LUZ ESTRELLA CORTES TORRES
                                                                                                                     of Joint Debtor                                                   LUZ ESTRELLA CORTES TORRES
                                                                                                                     (if any)

                                                                                                                                       0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only
                                                                            Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                                 Desc: Main
                                                                                                      Document Page 51 of 52
                                                                                                                   United States Bankruptcy Court
                                                                                                                        District of Puerto Rico

                                                                     IN RE:                                                                                  Case No.
                                                                     MARTINEZ FUENTES, RAFAEL & CORTES TORRES, LUZ ESTRELLA                                  Chapter 13
                                                                                                            Debtor(s)

                                                                                                            VERIFICATION OF CREDITOR MATRIX
                                                                     The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                     Date: August 17, 2015                  Signature: /s/ RAFAEL MARTINEZ FUENTES
                                                                                                                        RAFAEL MARTINEZ FUENTES                                                  Debtor



                                                                     Date: August 17, 2015                  Signature: /s/ LUZ ESTRELLA CORTES TORRES
                                                                                                                        LUZ ESTRELLA CORTES TORRES                                   Joint Debtor, if any
© 1993-2013 EZ-Filing, Inc. [1-800-998-2424] - Forms Software Only
          Case:15-06252-ESL13 Doc#:1 Filed:08/17/15 Entered:08/17/15 11:30:16                  Desc: Main
                                    Document Page 52 of 52
MARTINEZ FUENTES, RAFAEL              Claro                                 Misael Hernandez
71 CALLE RAFAEL CORDERO               PO Box 360998                         4 Ponce De Leon Street
CAGUAS, PR 00725                      San Juan, PR 00936                    Caguas, PR 00725




CORTES TORRES, LUZ ESTRELLA           CRIM                                  Pedro De Jesus Colon
71 CALLE RAFAEL CORDERO               PO Box 195387                         4 Calle Ponce De Leon
CAGUAS, PR 00725                      San Juan, PR 00919-5387               Caguas, PR 00725-4231




R. Figueroa Carrasquillo Law Office   Cristal Molina                        Reliable Financial Services
PO Box 186                            18 Monseñor Berrios Street (Down)     PO Box 21382
Caguas, PR 00726-0186                 Caguas, PR 00725                      San Juan, PR 00928




AAA                                   Department of Treasury                Rene Bernier
PO Box 70101                          Bankruptcy Section                    4 Calle Ponce De Leon
San Juan, PR 00936-8101               PO Box 9024140                        Caguas, PR 00725-4231
                                      San Juan, PR 00902-4140



Arpa Torres                           FERNANDEZ COLLINS CUYAR PLA           Scotiabank De Puerto Rico
4 Ponce De Leon Street                500 TANCA STREET                      SPECIAL LOANS
Caguas, PR 00725                      OCHOA BLD SUITE 201                   PO Box 9023905
                                      SAN JUAN, PR 00901                    San Juan, PR 00902-3905



Banco Popular De PR                   Gustavo Marrero
PO Box 364445                         4 Calle Ponce De Leon
San Juan, PR 00936-4445               Caguas, PR 00725-4231




Banco Santander PR                    INTERNAL REVENUE SERVICE
PO Box 362589                         BOX 21126
San Juan, PR 00936-2589               PHILADELPHIA, PA 19114-0326




Cinthia Vazquez                       INTERNAL REVENUE SERVICE
18 Monseñor Berrios St.,              BOX 80110
Caguas, PR 00725                      Cincinnati, OH 45280-0110




Citifinancial Plus                    Julio R Calderin
PO Box 499                            Re Contract #: 584-635261 Reliable
Hanover, MD 21076                     PO Box 21382
                                      San Juan, PR 00928-1382



Citifinancial Plus                    Miguel Santos
300 Saint Paul Pl                     18 Monseñor Berrios Street (higher)
Baltimore, MD 21202                   Caguas, PR 00725
